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                            UNITED STATES DISTRICT COURT
   15                     SOUTHERN DISTRICT OF CALIFORNIA

   16
        Ms. L., et al.,                                  Case No. 18-cv-00428-DMS-MDD
   17
                              Petitioners-Plaintiffs,
   18   v.
                                                         Date Filed: September 16, 2019
   19   U.S. Immigration and Customs Enforcement
        (“ICE”), et al.
   20                                                    OPPOSITION TO MOTION TO
                                                         EXCLUDE PLAINTIFFS’
   21                          Respondents-Defendants.   DECLARATIONS
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    1                                    INTRODUCTION
    2         In recognition of the expedited nature of these proceedings, throughout this
    3   case both sides have relied on evidentiary submissions that do not conform strictly
    4   to the Federal Rules of Evidence. The Court and the parties’ commonsense
    5   approach was appropriate given the streamlined nature of the case and the fact that
    6   no party has taken formal discovery. Yet now, after litigating for 18 months this
    7   way, Defendants suddenly interpose a long series of evidentiary objections to the
    8   declarations in support of Plaintiffs’ Motion to Enforce, claiming that rigid
    9   adherence to the Rules is required for this particular Motion. Indeed, some of the
   10   declarations are by declarants who have previously submitted affidavits in this case,
   11   without similar objections from Defendants.
   12         Defendants’ motion to exclude is inconsistent with the manner in which this
   13   Court has accepted evidentiary submissions in this case, misunderstands the rules
   14   governing the admissibility of evidence in preliminary injunction proceedings, and
   15   misinterprets the Local Rules of this Court.
   16         The Ninth Circuit has repeatedly recognized that the Federal Rules of
   17   Evidence should not be strictly applied in the preliminary injunction context, where
   18   courts are not making an adjudication of the case on the merits, nor have the parties
   19   conducted discovery. See, e.g., Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir.
   20   2009) (“A district court may, however, consider hearsay in deciding whether to
   21   issue a preliminary injunction.”). In stark contrast, almost all of Defendants’ cited
   22   cases—both in their brief and the 17-page exhibit they have attached to their
   23   motion—address the admissibility of evidence at summary judgment or trial.
   24         Defendants also advance a novel interpretation of Local Rule 7.1(f)(2)(a),
   25   which they say requires evidence submitted at any phase of the case to be
   26   “admissible for the purpose of trial” under Federal Rule of Civil Procedure 56.
   27   Dkt. 461 at 1-2. Yet the plain text of the Local Rule states only that “[i]n addition to
   28   the evidence required or permitted by Fed. R. Civ. P. 6(d) and 56, copies of

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    1   documentary evidence . . . must be served and filed with the motion.” L.R.
    2   7.1(f)(2)(a). This Local Rule nowhere demands that all declarations, no matter the
    3   context, conform strictly with the Rules of Evidence.
    4           Defendants also raise various objections to the testimony of multiple experts,
    5   who have offered their expertise on matters ranging from assessing the risk level of
    6   parents with criminal histories or allegations of danger, to police practices with
    7   respect to gangs in El Salvador, to the effect of trauma and parental separation on
    8   young children. Notably, Defendants do not challenge that the experts are qualified
    9   to testify. Nor could they, given the experts’ stellar credentials. There can also be
   10   no serious dispute as to whether their testimony will “help the trier of fact,” Fed. R.
   11   Evid. 702(a), given that their testimony goes directly to matters in core dispute that
   12   are beyond lay expertise.
   13           Rather, Defendants’ argument as to most of the experts is that they have not
   14   cited particular research studies and techniques. Dkt. 461 at 17-18; see also Fed. R.
   15   Evid. 702(d). To the contrary, the experts’ own testimony demonstrates that they
   16   have taken their collective decades of expertise and research and thoughtfully
   17   applied it to this factual setting.
   18           In sum, Defendants’ evidentiary objections have no basis in law or fact, and
   19   seek to avoid engaging with the merits of Plaintiffs’ Motion. Defendants’ motion to
   20   exclude should be denied in its entirety. There is simply no question that at this
   21   stage of the litigation the Court can give Plaintiffs’ declarations whatever weight it
   22   chooses, as has been the Court’s practice throughout the case.
   23                                    ARGUMENT
   24      I.      Defendants’ Objections to the Declarations of Attorneys and
                   Advocates Working with Separated Parents and Children Should be
   25              Overruled.
   26
   27           Due to the need for streamlined consideration of the issues in this case, as

   28   well as the lack of formal Rule 26 discovery thus far, the parties have relied on


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    1   numerous affidavits and other evidence that are not strictly admissible under the
    2   Federal Rules. Defendants have submitted, for example, testimony from a high-
    3   level ORR official that describes facts about specific children’s cases that came
    4   from other people and from unknown ORR records;1 and unauthenticated
    5   documents that purport to come from parents’ immigration records.2 For their part,
    6   Plaintiffs have relied previously relied on attorney declarations compiling and
    7   describing separation cases, some of which included information that they received
    8   from other members and attorneys of their organizations. See, e.g., Dkt. 153, Ex. 49
    9   (Connell Decl.); id., Ex. 51 (Fluharty Decl.); Dkt. 110, Ex. 39 (Odom Decl.); id.,
   10   Ex. 40 (Govindaiah Decl.); Dkt. 78, Ex. 29 (Love Decl.); Dkt. 78, Ex. 32 (Tuell
   11   Decl.). Indeed, some of the same declarants at issue here have previously submitted
   12   declarations in this case. See, e.g., Dkt. 78 (Brané Decl.); Dkt. 397-2 (Turner Decl.).
   13         Yet now, Defendants abruptly seek to exclude the testimony of ten lawyers
   14   and advocates who have substantial experience working on separation cases, for
   15   alleged failure to conform to the Federal Rules of Evidence. Defendants’ newfound
   16   evidentiary objections rely on a mischaracterization of the governing legal
   17   framework and ignore the numerous practical reasons why Plaintiffs’ evidence
   18   deserves great weight at this stage.
   19         A. The Federal Rules of Evidence do not Apply Rigidly in Preliminary
                 Injunction Proceedings.
   20
              As the Ninth Circuit has repeatedly held, strict compliance with evidentiary
   21
        rules, including hearsay rules, is not required at the preliminary injunction stage.
   22
        See Republic of the Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir. 1988) (en
   23
        banc) (affirming district court’s reliance on hearsay affidavit at preliminary
   24
        injunction stage); Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009)
   25
        (affirming district court’s consideration of, inter alia, “unverified client complaints”
   26
   27   1
          Dkt. 57-1 (Sualog Decl.), ¶¶ 1-2, 9-12 (declaration of ORR Deputy Director
        testifying concerning cases of named Plaintiffs Ms. L and Ms. C).
   28   2
          Dkt. 223-1, Dkt. 223-2, Dkt. 428-4.

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    1   on preliminary injunction). This is because “[t]he urgency of obtaining a
    2   preliminary injunction necessitates a prompt determination and makes it difficult to
    3   obtain affidavits from persons who would be competent to testify at trial.” Flynt
    4   Distrib. Co. Inc. v. Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984). And as this Court
    5   has repeatedly recognized, this case concerns issues of the utmost importance and
    6   urgency. See Dkt. 439-1 at 4-6; Flynt Distributing Co., 734 F.3d at 1394 (observing
    7   that inadmissible evidence deserves weight when it would “serve[] the purpose of
    8   preventing irreparable harm before trial”).
    9         Defendants do not even acknowledge this settled rule. Instead, they cite a
   10   litany of inapposite cases in their brief and exhibit, almost none of which arise in
   11   the preliminary injunction context. Most of their authorities arise on summary
   12   judgment, where evidentiary rules apply more closely. 3 Others address
   13   admissibility in civil trials.4 Still more are about criminal trials, which are even
   14   further afield. 5 Plaintiffs have identified only one case cited by Defendants that
   15   addresses a preliminary context, and even that factually distinguishable,
   16   unpublished case acknowledges the basic principle that evidentiary rules are
   17   relaxed here. See X17 v. Lavandeira, No. CV06-7608-VBF (JCX), 2007 WL
   18   790061, at *3 (C.D. Cal. Mar. 8, 2007) (rejecting hearsay affidavits and other
   19   documents in copyright case about celebrity Internet blogger).
   20         Next, Defendants argue that Local Rule 7.1(f)(2)(a) requires Plaintiffs’
   21   evidence to be “admissible for the purpose of trial” under Federal Rule of Civil
   22   Procedure 56. Dkt. 461 at 1-2. But the Local Rule merely provides that “[i]n
   23
        3
   24     See, e.g., America Orr v. Bank of Am., NT & SA, 285 F.3d 764, 771 (9th Cir.
        2002); Block v. Los Angeles, 253 F.3d 410, 419 (9th Cir. 2001); Kim v. United
   25   States, 121 F.3d 1269, 1270 (9th Cir. 1997); Bank Melli Iran v. Pahlavi, 58 F.3d
        1406, 1412 (9th Cir. 1995); Evangelista v. Inlandboatmen's Union of Pac., 777
   26   F.2d 1390, 1398 n.3 (9th Cir. 1985).
        4
          See Bemis v. Edwards, 45 F.3d 1369, 1371 (9th Cir. 1995); Plyler v. Whirlpool
   27   Corp., 751 F.3d 509, 511 (7th Cir. 2014).
        5
   28     See, e.g., United States v. Durham, 464 F.3d 976, 982 (9th Cir. 2006); United
        States v. Verduzco, 373 F.3d 1022, 1034 (9th Cir. 2004).

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    1   addition to the evidence required or permitted by Fed. R. Civ. P. 6(d) and 56,
    2   copies of documentary evidence . . . must be served and filed with the motion.”
    3   L.R. 7.1(f)(2)(a) (emphasis added). In other words, the Local Rule simply requires
    4   any underlying evidence to be filed with the motion itself. The reference to Rule 56
    5   merely clarifies that this administrative requirement applies outside the summary
    6   judgment context, since Rule 56 already requires the submission of underlying
    7   evidence. See Fed. R. Civ. P. 56(c)(1) (providing that factual positions “must” be
    8   supported by “citing to particular parts of materials in the record”).
    9         Defendants’ interpretation of the Local Rules also cannot be reconciled with
   10   numerous orders from this District that have overruled objections like those
   11   Defendants raise here. See, e.g., Odyssey Reinsurance Co. v. Nagby, No. 16-CV-
   12   3038-BTM-WVG, 2019 WL 2717223, at *14 (S.D. Cal. June 27, 2019) (“Due to
   13   the exigent nature of a preliminary injunction, a court may consider hearsay and
   14   other evidence that would otherwise be inadmissible at trial.”); Arcturus
   15   Therapeutics Ltd. v. Payne, No. 18CV766-MMA (NLS), 2018 WL 2316790, at *4
   16   (S.D. Cal. May 22, 2018) (overruling evidentiary objections based on “the best
   17   evidence rule, lack of foundation, failure to authenticate, and inadmissible
   18   hearsay”); Backcountry Against Dumps v. Abbott, No. 10-CV-1222 BEN (BGS),
   19   2011 WL 13193027, at *1 (S.D. Cal. Aug. 12, 2011) (overruling objection that
   20   declaration “contains improper lay opinion testimony” because “[c]ourts . . . may
   21   consider otherwise inadmissible evidence at the preliminary injunction stage”);
   22   Aviara Parkway Farms, Inc. v. Agropecuaria La Finca, S.P.R. de R.L., No.
   23   08CV2301JM(CAB), 2009 WL 249790, at *4 (S.D. Cal. Feb. 2, 2009) (rejecting
   24   hearsay objections on preliminary injunction). See also Wright & Miller, Procedure
   25   on an Application for a Preliminary Injunction, 11A Fed. Prac. & Proc. Civ. § 2949
   26   (3d ed.) (“[I[t is not surprising that in practice affidavits usually are accepted on a
   27   preliminary injunction motion without regard to the strict standards of Rule
   28   56(c)(4).”).

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    1         B. The Declarations of the Attorneys and Legal Services Providers are
                 Reliable and Relevant Evidence of Defendants’ Practices.
    2
              Under these standards, Plaintiffs’ evidence is plainly admissible and entitled
    3
        to significant weight. Defendants’ attacks on the attorney and advocate declarations
    4
        can be grouped into several broad categories.
    5
              First, Defendants repeatedly criticize numerous declarants for testifying to
    6
        inadmissible hearsay because they are at times testifying to what others—including
    7
        clients and others at their organizations—have told them. See, e.g., Dkt. 461 at 5-6,
    8
        7, 9; see generally Dkt. 461-1. But as stated above, there is no categorical bar to
    9
        hearsay in this context. See supra. Moreover, some statements Defendants
   10
        challenge are not hearsay at all. Much of the testimony concerns what the
   11
        declarants and their colleagues were told (or not told) by government actors
   12
        concerning the reasons for separation. See, e.g., Dkt. 439-1, Ex. C (Enriquez Decl.),
   13
        ¶¶ 13-14, 18-19; Ex. I (Koop Decl.), ¶ 6.a. Plaintiffs are not introducing these
   14
        statements for their truth, but rather for the fact that they were made—they are
   15
        evidence of Defendants’ justifications or rationales for separation. Such statements
   16
        are also admissible as party admissions. Fed. R. Evid. 801(d)(2).
   17
              Notably, Defendants have also relied on similar statements from agency
   18
        officials to describe individual cases. Dkt. 57-1 (Sualog Decl.), ¶¶ 9-12 (declaration
   19
        testifying concerning cases of named Plaintiffs Ms. L and Ms. C.). Indeed, their
   20
        own declarations in opposition to Plaintiffs’ Motion to Enforce report stories and
   21
        anecdotes about specific families, without any explanation as to how those
   22
        declarants know those facts. See Dkt. 464-1 (Sualog Decl.), ¶ 5 n.1; Dkt. 464-2
   23
        (Easterling Decl.), ¶ 19, 29; Dkt. 464-3 (Davison Decl.), ¶ 8. Defendants cannot
   24
        hold Plaintiffs to a higher standard than they would hold themselves.
   25
              Second, Defendants insist the declarants have failed to demonstrate personal
   26
        knowledge of their testimony, or lay a foundation for their statements. See, e.g.,
   27
        Dkt. 461 at 11-12, 13-14, 15; see generally Dkt. 461-1 (lodging personal
   28
        knowledge and foundation objections to various statements in attorney/advocate

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    1   declarations). But all the declarants aver that they have worked on separation cases,
    2   sometimes many cases. See, e.g., Dkt. 439-1, Ex. G, ¶ 2 (Lapointe Decl.); id., Ex. I,
    3   ¶¶ 2-5 (Koop Decl.); id., Ex. J, ¶¶ 2-4 (Trefftz Decl.). Some coordinate or supervise
    4   the work of multiple team members from their respective organizations on
    5   separation cases. See, e.g., Dkt. 439-1, Ex. B (Turner Decl.), ¶ 3; Ex. C, ¶¶ 1-3
    6   (Enriquez Decl.); Ex. E (Nagda Decl.), ¶¶ 3-10; Ex. H, ¶¶ 3-4 (Olivares Decl.).
    7         Accordingly, all the declarants are testifying concerning matters well within
    8   their knowledge and competence, either because of their direct work on separation
    9   cases, or supervising other advocates and attorneys. See, e.g., Ticketmaster L.L.C. v.
   10   RMG Techs., Inc., 507 F. Supp. 2d 1096, 1103 n.2 (C.D. Cal. 2007) (overruling
   11   personal knowledge objections because “in the preliminary injunction context, the
   12   Court is not strictly bound by all rules of evidence”). And to the extent necessary,
   13   the declarants’ personal knowledge can be easily inferred from testimony about
   14   their organizational positions and their representation of separated families. See
   15   Barthelemy v. Air Lines Pilots Ass’n, 897 F.2d 999, 1018 (9th Cir. 1990)
   16   (“[P]ersonal knowledge and competence to testify . . . may be inferred from the
   17   affidavits themselves.”).
   18         Third, this posture presents special reasons to find Plaintiffs’ declarations
   19   reliable. Plaintiffs’ Motion focuses on two principal issues: the standard Defendants
   20   are applying to determine whether a parent is unfit or presents an imminent danger
   21   to the child, and their practices for determining unfitness or parentage. See Dkt.
   22   439-1 at 1-3. The children often have no meaningful testimony concerning either of
   23   those issues, since they are not told of the reasons why they were separated from
   24   their parents. Many do not know what in their parents’ backgrounds could possibly
   25   justify separation. Also, some of the children are too young to testify competently
   26   as to any topic, much less the traumatic circumstances of their separation.
   27         The parents are similarly told only sporadically about Defendants’
   28   justifications for the separation, and what information they are given is often

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    1   incomplete or confusing. See, e.g., Dkt. 434-1, Ex. D (Palazzo Decl.), ¶¶ 9-10; Ex.
    2   F (Donovan-Kaloust Decl.), ¶¶ 7-10; Ex. H (Olivares Decl.), ¶ 8. Some of the
    3   parents are deported and obtaining their testimony presents practical barriers. See,
    4   e.g., Dkt. 434-1, Ex. B (Turner Decl.), ¶ 7; Ex. D (Palazzo Decl.), ¶ 15; Ex. G
    5   (Lapointe Decl.), ¶ 17.
    6         As a result, the lawyers and advocates who work with the children and
    7   parents are the individuals (outside the government) who are best positioned to
    8   testify concerning the systemic matters at the heart of Plaintiffs’ motion. The
    9   lawyers and advocates have pieced together the relevant facts from the child and
   10   parent and their respective lawyers. They have coordinated with the relevant
   11   agencies to obtain information concerning the reasons for separation, to the extent
   12   they are willing to share it. And due to their work on multiple cases, they are well
   13   qualified to speak on Defendants’ practices. A number of the declarants—including
   14   Jennifer Nagda, who oversees federally-appointed child advocates for hundreds of
   15   separated children, Dkt. 439-1, Ex. E, ¶¶ 31-37—supervise their organizations’
   16   work with numerous such cases. Dkt. 439-1, Ex. B, ¶¶ 2-4 (Turner Decl.), Ex. H, ¶¶
   17   3-4 (Olivares Decl.), Ex. C, ¶¶ 1-3 (Enriquez Decl.), Ex. J, ¶¶ 2-4 (Trefftz Decl.).6
   18   Their declarations are an effort to streamline the evidence they have gathered and
   19   the patterns they have seen into a more digestible form.
   20         Fourth, Defendants’ reliability arguments omit that they have had ample
   21   opportunity to investigate the cases described in the declarations. Almost three
   22   weeks after Plaintiffs filed their Motion to Enforce, Defendants suddenly wrote to
   23   request that Plaintiffs provide—in two days—the names and A numbers of the 43
   24
        6
   25    Multiple courts have relied on similar declarations to establish the existence of
        Defendants’ policies and practices. See, e.g., Hernandez v. Lynch, No.
   26   EDCV1600620JGBKKX, 2016 WL 7116611, at *5 (C.D. Cal. Nov. 10, 2016), aff'd
        sub nom. Hernandez v. Sessions, 872 F.3d 976 (9th Cir. 2017) (relying on attorney
   27   declarations to find facts concerning Defendants’ immigration detention practices);
        R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 174 (D.D.C. 2015) (crediting testimony of
   28   “[v]arious immigration experts and attorneys” to prove existence of agency
        practice); Damus v. Nielsen, 313 F. Supp. 3d 317, 340 (D.D.C. 2018) (similar).

                                                  8
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    1   cases described in detail in the ten attorney and advocate declarations. Plaintiffs
    2   provided over 90% of the names and A numbers within 72 hours, and provided one
    3   additional name the next week. Defendants obviously have access to these
    4   individuals’ files and records, as their opposition to the Motion to Enforce shows.
    5   See Dkt. 464 at 9-10, 12-13; Dkt. 464-5. Any concerns about the declarations’
    6   “reliability” should not be a concern now that Defendants’ have had ample chance
    7   to verify the statements for themselves.
    8         Finally, Defendants object to specific portions of the declarations of Anthony
    9   Enriquez, Jennifer Nagda, and Michelle Brané for improper lay opinion testimony
   10   or because they state legal conclusions. See Dkt. 461 at 7-8, 10-11, 16-17. Their
   11   examples are misguided. For instance, Defendants take issue with parts of Mr.
   12   Enriquez’s and Ms. Nagda’s testimony concerning the effects of trauma on
   13   separated children, because they are not child trauma experts. Dkt. 461 at 7-8, 11.
   14   However, context makes clear that neither declarant is opining as a mental health
   15   expert, but rather testifying about observations of the children they or their
   16   organizations work with. That is a matter well within their competence, given their
   17   extensive experience observing the effects of Defendants’ policies. 7 And
   18   Defendants’ protests of Ms. Brané’s testimony are particularly surprising given that
   19   she is part of the Steering Committee in this case and has submitted multiple
   20   declarations in this case without any prior concern. See, e.g., Dkt. 397-1; 357-1;
   21   172-1. And as an advocate who has worked on behalf of immigrant children for
   22   years, she is amply qualified to offer testimony concerning her experience with
   23   Defendants’ practices. See Dkt. 78, Ex. 31 (describing qualifications). 8
   24
   25
        7
          Plaintiffs reserve the right to qualify all three declarants as experts, and only
   26   accept Defendants’ characterizations for current purposes.
        8
   27     Defendants object to the declaration of Derek Loh for failure to include the proper
        recitals under 28 U.S.C. 1746. Dkt. 461 at 17. Any such error was inadvertent, and
   28   Plaintiffs will submit a corrected declaration from Mr. Loh with their reply in
        support of the motion to enforce.

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    1      II.      Defendants’ Objections to the Expert Declarations Should be
                    Rejected.
    2
                 Plaintiffs have produced expert declarations from experts who have been
    3
        retained by federal governments for their expertise, see Dkt. 439-1, Ex. Q (Austin
    4
        Decl.), ¶¶ 2-5 (U.S. Department of Justice); Ex. N (Rikkers Decl.), ¶ 2 (El
    5
        Salvador), have founded and led pioneering centers in their respective fields, Ex. O
    6
        (Shonkoff Decl.), ¶ 2, Dkt. 48-1, ¶ 7 (Guggenheim Decl.), have led correctional
    7
        systems in a wide array of contexts, Dkt. 439-1, Ex. P, ¶¶ 2-4 (Schriro Dec.); and
    8
        have authored key publications relevant to their fields, see, e.g., Ex. A, Declaration
    9
        of Daniel Galindo (“Galindo Decl.”), Exs. 1-5 (curricula vitae of experts). This
   10
        combination of extensive relevant experience, and knowledge gained from work
   11
        with others in the field, easily establishes admissibility under the Federal Rules of
   12
        Evidence. See Fed. R. Evid. 702 advisory committee’s note to 2000 amendments
   13
        (“In certain fields, experience is the predominant, if not sole, basis for a great deal
   14
        of reliable expert testimony.”); Donahoe v. Arpaio, 92 Fed. R. Evid. Serv.
   15
        (Callaghan) 810 (D. Az. Oct. 11, 2013) (attorney with decade as prosecutor who
   16
        advised clients and taught was qualified to testify as to “prosecutors’ normal
   17
        investigative practices”). This is true even if the Court’s gatekeeping function were
   18
        rigidly required at a preliminary injunction stage, see Part I.A.
   19
                 Defendants do not dispute the experts’ qualifications. Instead, Defendants
   20
        take a cramped view of the admissibility of expert testimony; attempt to recast as
   21
        “unreliable” the declarations with which it disagrees; and ignore the detailed bases
   22
        of the experts’ statements. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152
   23
        (1999) (noting that the trial judge has the discretion “both to avoid unnecessary
   24
        ‘reliability’ proceedings in ordinary cases where the reliability of an expert's
   25
        methods is properly taken for granted”).
   26
                 A. Each Declaration Clearly States The Principles and Methods Used.
   27
                 Defendants’ primary argument is that Plaintiffs’ experts have not said, to
   28
        Defendants’ satisfaction, “what reliable principles and methods they used and

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    1   applied.” Dkt. 461 at 18. That is wrong.
    2         Dr. Dora Schriro. Dr. Schriro’s declaration notes her relevant background,
    3   Dkt. 439-1, Ex. P, ¶¶ 2-3, 6 (forty years of experience in corrections and law
    4   enforcement, leading three state agencies, two city systems, and one DHS office),
    5   and lists her specific experience as a senior advisor to the DHS Secretary on Civil
    6   Detention and Removal, id., ¶ 4; as author of a DHS report on ICE detention
    7   practices, including those involving the detention of families, id.; 9 and as coauthor
    8   of two reports in the last five years on family residential centers and family
    9   immigration detention. Id., ¶5.
   10         Drawing on this expertise in “assessing and administering criminal and civil
   11   detention systems,” id., ¶ 6, Dr. Schriro then explains that correctional systems
   12   make assessments of each arriving person’s risk for violence, and why and how
   13   they do so, including what information is considered, what factors are important,
   14   and how such risk factors are applied. Id., ¶¶ 8-9. And she specifically cites that she
   15   has applied such principles at a residential nursery in a women’s jail, when she led
   16   the New York City Department of Correction. Id., ¶ 10.
   17         Defendants’ claims that “the Court has no way to judge” Dr. Schriro’s
   18   “reasoning” thus ring hollow—they cannot pretend not to know the basis of her
   19   opinions when her publications and experience are detailed at length. And any
   20   claim Dr. Schriro’s conclusions cannot apply “in the immigration-detention
   21   context” ignores her specific experience with DHS, Dkt. 439-1, id., ¶ 4-5.
   22         Moreover, even if Defendants’ characterization of her declaration were
   23   correct, Ninth Circuit law is clear that an expert’s lack of certain “particularized
   24   experience” goes to weight, not admissibility. United States v. Garcia, 7 F.3d 885,
   25   890 (9th Cir. 1993) (citing United States v. Little, 753 F.2d 1420, 1445 (9th Cir.
   26   1984)). Accordingly, district courts have declined to exclude expert testimony on
   27
        9
         Available here: https://www.ice.gov/doclib/about/offices/odpp/pdf/ice-detention-
   28   rpt.pdf.

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    1   the basis of such hairsplitting. See, e.g., Weiss v. Holland Am. Line, Inc., NO. C12-
    2   2105 RSM, 2014 U.S. Dist. LEXIS 57430, at *10 (W.D. Wash. Apr. 18, 2014)
    3   (admitting expert in case involving cruise ship industry where experience gained
    4   through Alaska ferry system).
    5          Dr. James Austin. Defendants’ claims as to Dr. Austin similarly fail. He
    6   explains his expertise in classification systems for people incarcerated, including
    7   having been retained by the National Institute of Corrections, part of the U.S.
    8   Department of Justice, since 1980 to design and implement objective classification
    9   systems, Dkt. 439-1, Ex. Q, ¶ 2; see also id., ¶ 4 (authoring DOJ publication on
   10   same), and having helped develop the custody classification systems currently in
   11   use in ICE detention facilities, id., ¶ 5, and “in over 40 local and state correctional
   12   systems,” id. ¶ 2.
   13          Dr. Austin then explains the principles of assessing whether someone can be
   14   housed in a detention center, id., ¶ 6, and that “all detention centers” have to
   15   develop systems to assess risk. Id. Like Dr. Schriro, he explains important and
   16   objective factors in risk-assessments, id., ¶¶ 7-8, and he further explains that
   17   families in detention have a “strong incentive for the detainees to comply with
   18   facility rules” because “parents deeply desire to remain intact as a family, and they
   19   know that misbehavior will imperil their ability to be with their children.” Id., ¶ 10.
   20   The Court is thus able to evaluate his principles and methods of reasoning in
   21   deciding whether to consider whether his declaration reliably concludes that he
   22   does “not believe [Defendants’] custody decisions are consistent with the industry
   23   standards for classifying detainees in U.S. correctional and other family detention
   24   facilities,” id., ¶ 12.10
   25
        10
           Defendants fault Dr. Austin for not stating, for example, “what percentage of jails
   26   utilize risk assessments.” Dkt. 461 at 22. But Dr. Austin’s declaration addresses the
        prevalence of the risk assessments he describes. Dkt. 439-1, Ex. M, ¶ 16 (discussing
   27   jails, prisons, and family detention facilities, and stating that “most facilities in the
        country use” the risk-assessment tools he has described).
   28

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    1         Dr. Jack Shonkoff. Defendants’ objections to Dr. Shonkoff’s testimony are
    2   similarly meritless. Dr. Shonkoff is a Professor of Pediatrics at Harvard Medical
    3   School and Boston Children’s Hospital, the Director of the Center on the
    4   Developing Child, with appointments in Harvard’s schools of public health and
    5   education. Galindo Decl., Ex. 1. He also testified before Congress concerning the
    6   effects of immigration detention and family separation on children, particularly
    7   young children. Harvard Center on the Developing Child, Migrant Family
    8   Separation Congressional Testimony: Dr. Jack P. Shonkoff (Feb 7, 2019), available
    9   at https://developingchild.harvard.edu/about/press/migrant-family-separation-
   10   congressional-testimony-dr-jack-p-shonkoff/. Plaintiffs offer his testimony to
   11   buttress the widespread consensus—recognized by this Court—that family
   12   separation “‘is a highly destabilizing, traumatic experience that has long-term
   13   consequences” on children. Dkt. 83 at 19 (quoting Dkt. 17-13, ¶ 2).
   14         Defendants fault Dr. Shonkoff for not naming each scientific field on which
   15   he is basing his knowledge, and for not identifying specific members of the “strong
   16   scientific consensus” and the “countless studies” that support his synthesis and
   17   summary of research on the effect of separating parents from their children. Dkt.
   18   461 at 20. Yet his declaration specifically names the scientific fields from which he
   19   is primarily drawing (e.g. pediatrics and disciplines in the field of medicine,
   20   behavioral and social sciences, biology, see Dkt. 439-1, Ex. O, ¶ 2-4, 6, 12-13). His
   21   declaration also goes into detail concerning the specific research findings that he is
   22   summarizing and applying to this case’s context. See, e.g., Dkt. 439-1, Ex. O, ¶ 17
   23   (defining deprivation/neglect and summarizing research findings that they can
   24   cause more harm to a child’s development than overt physical abuse); ¶ 18
   25   (children with extreme levels of social neglect early in life show diminished
   26   electrical activity in the brain, as measured through electroencephalography); ¶ 20
   27   (early adversity can chemically alter gene expression); ¶ 21 (early childhood stress
   28   can affect response to stress as adults, and lead to increased risk of disease as

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    1   adults).
    2         Dr. Shonkoff’s further enumerated publications are included for the Court
    3   with this Opposition brief, Galindo Decl., Ex. 1, but the science underlying his
    4   claims is abundantly clear. More to the point, Defendants have never seriously
    5   disputed that separation can have detrimental effects on children, particularly young
    6   children, and that it can leave potentially permanent scars. See United States v.
    7   Finley, 301 F.3d 1000, 1014 (9th Cir. 2002) (explaining that cross-examination and
    8   presentation of rebuttal evidence are “traditional and appropriate means” of
    9   disputing expert) (citation omitted).
   10         And Plaintiffs have previously submitted the testimony of numerous medical
   11   professionals on this topic without objection by Defendants. See Dkt. 21-1, Exs. 1-8
   12   (testimony of nine medical and mental health professionals on harm of separation).
   13         Jeanne Rikkers. Finally, Jeanne Rikkers describes more than a decade of
   14   experience as a researcher with three nonprofits in El Salvador, focused on criminal
   15   justice and gangs. Dkt. 439-1, Ex. N, ¶ 1. She has worked with the Salvadoran
   16   government to evaluate its approach to criminal justice issues, has published her
   17   research on gangs, and has worked extensively with family members of people
   18   accused of gang affiliations. She notes her current research focus investigating
   19   human rights violations by law enforcement and state actors in El Salvador, and
   20   that she has observed police practices in the field. Id., ¶¶ 2-3.
   21         From this experience, she states the principles she applies—including, for
   22   example, that police in El Salvador use broad and vague criteria to claim someone
   23   is associated with gangs. Id., ¶¶ 4-5. She then cites specific police practices as
   24   examples of that principle—“rely[]ing heavily on witness identification of supposed
   25   gang members,” where those “witness are often accused” of crimes and are trading
   26   names of gang members “in exchange for leniency, ¶ 5; stop-and-frisk and mass
   27   arrest practices to catalogue young people and attempt to tie them to gang
   28   membership, ¶¶ 6-7; commonly understood phrases in the community reflecting

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    1   how widespread these dragnet practices are, ¶ 7 (describing “fichar”); labelling
    2   people as affiliated because they were housed with gang members in jail, ¶ 8.
    3   Defendants may disagree with her conclusion that innocent people are regularly
    4   labeled “gang members,” gang affiliated or “gang sympathizers,” but they cannot
    5   credibly claim they do not know how she reached her conclusion. See Kumho Tire
    6   Co. v. Carmichael, 526 U.S. at 156 (“no one denies that an expert might draw a
    7   conclusion from a set of observations based on extensive and specialized
    8   experience.”).
    9         B. Nothing in Prof. Martin Guggenheim’s Declaration is Excludable as
                 an Impermissible Legal Conclusion.
   10
              Defendants do not raise any dispute with Prof. Guggenheim’s qualifications
   11
        as an expert. See Dkt. 461 at 23-24. Nor did it previously object to any of his three
   12
        prior declarations filed in this case, which similarly explained child welfare
   13
        principles and applied them to particular facts, compare Dkt. 48-1, Ex. 17; Dkt. 78,
   14
        Ex. 34; Dkt. 221, Ex. 59, with Dkt. 439-1, Ex. M, and which were relied upon by
   15
        the Court. PI Order, Dkt. 83 at 19 (quoting Dkt. 48-1, Guggenheim Declaration on
   16
        injury to children).
   17
              Now that Prof. Guggenheim has concluded that “almost none” of the
   18
        government’s reasons for ongoing separations would even trigger further
   19
        assessment of a parent’s fitness under basic child welfare principles that apply in
   20
        the state and federal contexts, Dkt. 439-1, Ex. M, ¶ 10, after explaining and giving
   21
        examples of the child welfare principles he is applying, id., ¶¶ 2-9—Defendants
   22
        suddenly seek to exclude this latest declaration as consisting of impermissible
   23
        “legal conclusions.”
   24
              Even if Defendants’ argument were true—and it is not—that would not be a
   25
        reason to exclude any part of the declaration. In civil cases, “testimony in the form
   26
        of an opinion or inference otherwise admissible is not objectionable because it
   27
        embraces an ultimate issue to be decided by the trier of fact.” Fed. R. Evid. 704(a);
   28

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    1   United States v. Morales, 108 F.3d 1031, 1035 (9th Cir. 1997) (“Generally, experts
    2   may testify as to their opinions on ultimate issues to be decided by the trier of
    3   fact”).
    4             A declaration stating “the government is not complying with the preliminary
    5   injunction” might be impermissible, but analysis of Defendants’ own data and lists
    6   of separations is admissible, as it aids the trier of fact in deciding the ultimate legal
    7   conclusions in the dispute. District courts have accordingly admitted similar expert
    8   testimony. See, e.g., United States v. Pac. Gas & Elec. Co., No. 14-cr-00175-THE,
    9   2016 U.S. Dist. LEXIS 78102, at *3-5 (N.D. Cal. June 15, 2016) (allowing expert
   10   testimony on a “complex regulatory framework”); Adams v. United States, No. CV-
   11   03-49EBLW, 2009 WL 1085481, at *3 (D. Idaho Apr. 20, 2009) (admitting expert
   12   testimony about role of EPA and federal statute in establishing industry standards
   13   and regulations, and whether conduct satisfied such standards).
   14             Defendants cite cases far afield: Prof. Guggenheim is not testifying as to an
   15   ultimate conclusion of federal law before this court, as in Crow Tribe of Indians v.
   16   Racicot, 87 F.3d 1039, 1045 (9th Cir. 1996) (rejecting testimony on the scope of a
   17   contract’s term in contract dispute); nor would his testimony impermissibly overlap
   18   with criminal jury instructions, United States v. Brodie, 858 F.2d 492, 496-97 (9th
   19   Cir. 1988). And in EduMoz, LLC v. Republic of Mozambique, 968 F. Supp. 2d 1041
   20   (C.D. Cal. 2013), aff’d, 686 F. App'x 486 (9th Cir. 2017), the court noted it could
   21   have considered most statements in a foreign lawyer’s declaration about his
   22   country’s legal system, but did not need to do so in deciding the case on other
   23   grounds. See id. at 1042-45. 11
   24             In sum, although Defendants may dispute the conclusions of Plaintiffs
   25   experts, they should engage them on the merits rather than seek to exclude their
   26   testimony altogether. See Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738
   27
        11
   28    For these Same reasons. Ms. Nagda’s conclusions about how these separations
        would fare under state law standards is appropriate.

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    1   F.3d 960, 969–70 (9th Cir. 2013) (“The district court is not tasked with deciding
    2   whether the expert is right or wrong, just whether his testimony has substance such
    3   that it would be helpful to [trier of fact].”).
    4                                        CONCLUSION
    5          For these reasons, the Court should deny Defendants’ motion.
    6
         Dated: September 16, 2019                    Respectfully Submitted,
    7
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    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that on September 16, 2019, I electronically filed the
    3   foregoing with the Clerk for the United States District Court for the Southern
    4   District of California by using the appellate CM/ECF system. A true and correct
    5   copy of this brief has been served via the Court’s CM/ECF system on all counsel of
    6   record.
    7                                                 /s/ Lee Gelernt
    8                                                 Lee Gelernt, Esq.
                                                      Dated: September 16, 2019
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    1            Ms. L. et al., v. U.S. Immigration and Customs Enforcement, et al.
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                         Exhibit A




                                                              Exhibit A, Page 20
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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
   Ms. L., et al.,
                      Petitioners-Plaintiffs,       Case No. 18-cv-00428-DMS-MDD
   v.
   U.S. Immigration and Customs Enforcement
   (“ICE”); U.S. Department of Homeland Security
   (“DHS”); U.S. Customs and Border Protection
   (“CBP”); U.S. Citizenship and Immigration        DECLARATION OF DANIEL A.
   Services (“USCIS”); U.S. Department of Health GALINDO
   and Human Services (“HHS”); Office of
   Refugee Resettlement (“ORR”); Thomas
   Homan, Acting Director of ICE; Greg
   Archambeault, San Diego Field Office Director, CLASS ACTION
   ICE; Joseph Greene, San Diego Assistant Field
   Office Director, ICE; Adrian P. Macias, El Paso
   Field Director, ICE; Frances M. Jackson, El Paso
   Assistant Field Office Director, ICE; Kirstjen
   Nielsen, Secretary of DHS; Jefferson Beauregard
   Sessions III, Attorney General of the United
   States; L. Francis Cissna, Director of USCIS;
   Kevin K. McAleenan, Acting Commissioner of
   CBP; Pete Flores, San Diego Field Director,
   CBP; Hector A. Mancha Jr., El Paso Field
   Director, CBP; Alex Azar, Secretary of the
   Department of Health and Human Services;
   Scott Lloyd, Director of the Office of Refugee
   Resettlement,
                       Respondents-Defendants.


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   Stephen B. Kang (SBN 292280)
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                      EXHIBIT 1




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                                        Curriculum Vitae
                                       (Updated May 2019)

                                   JACK P. SHONKOFF, M.D.

                       Center on the Developing Child at Harvard University
                                         50 Church Street
                                 Cambridge, Massachusetts 02138
                                    Telephone: 617-496-1224
                               E-mail: jack_shonkoff@harvard.edu
                           Website: www.developingchild.harvard.edu


   PRESENT POSITIONS

   Julius B. Richmond FAMRI Professor of Child Health and Development,
   Harvard T.H. Chan School of Public Health and Harvard Graduate School of Education.
   Professor of Pediatrics, Harvard Medical School and Boston Children’s Hospital.
   Director, Center on the Developing Child, Harvard University.

   EDUCATION

   1968          A.B. Cornell University, Ithaca, New York
   1972          M.D. New York University School of Medicine, New York, New York

   HONORARY DEGREES

   2006          A.M. (Hon) Harvard University, Cambridge, Massachusetts
   2014          Doctor of Public Service (Hon) University of Maryland, Baltimore, Maryland

   PROFESSIONAL TRAINING

   1972-75       Intern, Assistant Resident, and Senior Resident in Pediatrics, Bronx Municipal
                 Hospital Center and Albert Einstein College of Medicine, Bronx, New York

   1975-76       Fellow in Developmental Pediatrics, Children's Hospital Medical Center and
                 Harvard Medical School, Boston, Massachusetts

   PROFESSIONAL POSITIONS

   1976-79       Assistant in Medicine, Children's Hospital Medical Center, Boston, Massachusetts
                    Staff Pediatrician, Comprehensive Child Health Program (1976-77)
                    Director, Developmental Consultation Program (1976-79)
                    Coordinator, Postgraduate Developmental Fellowship (1977-79)

   1979-94       Attending Pediatrician, University of Massachusetts Medical Center, Worcester,
                 Massachusetts
                    Co- Director, Child Development Service (1979-87)
                    Director, Fellowship in Ambulatory and Developmental Pediatrics (1981-86)


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                     Director, Fellowship in Developmental and Behavioral Pediatrics (1986-94)
                     Chief, Division of Developmental and Behavioral Pediatrics (1987-94)

   1994-2005      Dean, The Heller School for Social Policy and Management (formerly the
                  Florence Heller Graduate School for Advanced Studies in Social Welfare),
                  Brandeis University

   1997-2000      Chair, Board on Children, Youth, and Families, Institute of Medicine and the
                  Commission on Behavioral and Social Sciences and Education, National Research
                  Council/ National Academy of Sciences

   2003-present Founding Chair, National Scientific Council on the Developing Child

   2006-2011      Founding Chair, National Forum on Early Childhood Policy and Programs

   2006-present Founding Director, Center on the Developing Child at Harvard University

   2015-present Founding Director, JPB Research Network on Toxic Stress

   ACADEMIC APPOINTMENTS

   1975-present Harvard Medical School, Boston, Massachusetts
                   Instructor in Pediatrics (1976-79)
                   Lecturer on Pediatrics (1997-2006)
                   Senior Lecturer on Pediatrics (2006-09)
                   Professor of Pediatrics with Tenure (2009)

   1979-90        Wheelock College, Boston, Massachusetts
                    Instructor, Department of Early Childhood Education (1979-80)
                    Adjunct Assistant Professor, Graduate School (1980-85)
                    Adjunct Associate Professor, Graduate School (1985-90)

   1979-94        University of Massachusetts Medical School, Worcester, Massachusetts
                     Assistant Professor of Pediatrics (1979-85)
                     Associate Professor of Pediatrics (1985-90)
                     Professor of Pediatrics with Tenure (1990-94)

   1994-2006      Brandeis University, Waltham, Massachusetts
                     Samuel F. and Rose B. Gingold Professor of Human Development and
                     Social Policy

   1997-2006      Tufts University School of Medicine, Boston, Massachusetts
                     Adjunct Professor of Family Medicine and Community Health

   2006-present   Harvard T.H. Chan School of Public Health, Boston, Massachusetts
                    Julius B Richmond FAMRI Professor of Child Health and Development

   2006-present   Harvard Graduate School of Education, Cambridge, Massachusetts
                   Julius B Richmond FAMRI Professor of Child Health and Development

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   VISITING PROFESSORSHIPS AND NAMED LECTURES

   1986        Robert Wood Johnson Visiting Research Professor, The University of Rochester
               School of Medicine and Dentistry, Rochester, New York

   1986        Fourteenth Annual Arthur L. Tuuri Interdisciplinary Lecturer, Mott Children’s
               Health Center, Flint, Michigan

   1986        Visiting Professor, Sistema Nacional Para el Desarrollo Integral de la Familia,
               Mexico City, Mexico

   1988        Visiting Professor, University of Puerto Rico School of Medicine, San Juan,
               Puerto Rico

   1989        Visiting Professor in Pediatrics, A.I. Dupont Institute, Wilmington, Delaware

   1990        Visiting Professor in Pediatrics, University of Vermont School of Medicine,
               Burlington, Vermont

   1990        Koret Visiting Professor in Pediatrics, Pacific Presbyterian Medical Center, San
               Francisco, California

   1991        Third Annual Harrie R. Chamberlin Lecturer and Visiting Professor, University
               of North Carolina, Chapel Hill, North Carolina

   1991        Visiting Professor in Pediatrics, Children's Hospital, Oakland, California

   1991        Visiting Professor, Children's National Medical Center, Washington, DC

   1991        First Annual Omer H. Foust Lecturer and Visiting Professor, Riley Hospital for
               Children, Indiana University Medical Center, Indianapolis, Indiana

   1991        Twenty-fourth Dr. Louis W. Sauer Lecturer and Visiting Professor, The Evanston
               Hospital, Evanston, Illinois

   1992        Sydney Rosen Commemorative Lecture, Hospital for Sick Children, Toronto,
               Ontario, Canada.

   1992        Visiting Professor, Tel Aviv University, Tel Aviv, Israel

   1992        Felton Bequests' Visiting Lecturer, Royal Children's Hospital and Monash
               Medical Centre, Melbourne, Australia

   1994        Fifth Annual John B. Welsh Memorial Lectureship and Visiting Professor,
               University of California, San Diego Medical Center, San Diego, California

   1995        Warren Weiswasser Lecturer and Visiting Professor, Yale University School of
               Medicine, New Haven, Connecticut

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   1997        Second Annual Dr. Howard R. Rappaport Memorial Lectureship, Mount Sinai
               School of Medicine, New York, New York

   1998        Fifth Annual Raymond Keefe, M.D. /Joseph Bellizzi, M.D. Memorial Lecture,
               St. Francis Hospital and Medical Center, Hartford, Connecticut

   2002        Fifth Annual Harris Lecture on Infancy, Institute for Infants, Children, and
               Families, Jewish Board of Family & Children’s Services, New York, New York.

   2004        Cecil G. Sheps Visiting Scholar in Social Justice, University of North Carolina,
               Chapel Hill, North Carolina.

   2004        Harris Visiting Scholar, Institute of Child Development, University of Minnesota,
               Minneapolis, Minnesota.

   2005        Lipsitt-Duchin Lecture in Child Behavior and Development, Brown University,
               Providence, Rhode Island

   2006        Creswick Foundation Visiting Professor in Early Childhood Development, Royal
               Children’s Hospital, Melbourne, Australia

   2006        Lynne Harris Lecture, College of Medicine, University of Arkansas for Medical
               Sciences, Little Rock, Arkansas

   2007        The First Biennial Esther Thelen Memorial “Making a Difference” Lecture,
               Society for Research in Child Development

   2007        Annual Invited Lectureship for the Society for Developmental and Behavioral
               Pediatrics

   2007        Invited presentation on Neuroscience and Society, Tenth Anniversary
               Symposium, RIKEN Brain Science Institute, Tokyo, Japan.

   2008        Paul A. Harper Lecture, Johns Hopkins Bloomberg School of Public Health,
               Baltimore, Maryland

   2009        John Kennell Lecture, Rainbow Babies and Children’s Hospital, Case Western
               Reserve University, Cleveland, Ohio

   2010        Matthew Eappen Grand Rounds Lecture. Children’s Hospital Boston. Boston,
               Massachusetts

   2012        Steven J. Parker Memorial Lecture. Boston University School of Medicine.
               Boston, Massachusetts

   2013        Lawrence Taft Memorial Lecture. UMDNJ-Robert Wood Johnson Medical
               School. New Brunswick, New Jersey



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   2014        Sulzberger Distinguished Lecture. Duke Center for Child and Family Policy.
               Duke University. Durham, North Carolina

   2014        Lucille N. Austin Lecture. Columbia University School of Social Work.
               New York, New York

   2016        Twenty-fifth Annual Arnold E. Einhorn Lectureship in Pediatrics. Children’s
               National Health System. Washington, D.C.

   2018        Paul H. Dworkin Lecture. University of Connecticut School of Medicine.
               Hartford, Connecticut

   2019        Paul Goldstein Endowed Lecture. Department of Pediatrics. Yale School of
               Medicine. New Haven, Connecticut

   AWARDS / HONORS

   1980-83     Kellogg National Fellowship, W. K. Kellogg Foundation

   1981-82     National Center Fellowship, National Center for Clinical Infant Programs

   1986        Senator Gerard D’Amico Award, Massachusetts Early Intervention Consortium

   1986        Excellence in Teaching Award, Presented by Pediatric House Staff, University of
               Massachusetts Medical School

   1993        Award for Excellence, Boston Institute for the Development of Infants and
               Parents

   1994        Award for Distinguished Contribution to Child Advocacy, American
               Psychological Association, Division of Child, Youth, and Family Services

   1996        American Pediatric Society, Elected Membership

   1999        Institute of Medicine (Renamed National Academy of Medicine), Elected
               Membership

   2001        National Associate of the National Academies, Lifetime Appointment

   2005        C. Anderson Aldrich Award in Child Development, American Academy of
               Pediatrics

   2007        Award for Distinguished Contributions to Social Policy, Society for Research in
               Child Development

   2016        Shonkoff Amphitheater. Named classroom at The Heller School for Social Policy
               and Management, Brandeis University



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   2016        Caring for Children Lifetime Achievement Award, Georgetown University and its
               Center for Child and Human Development

   2017        Whole Child Award for Visionary Leadership, Simms/Mann Institute

   2018        2018 ACM Great Friend to Kids Award presented to the Center on the
               Developing Child at Harvard by the Association of Children’s Museums

   2019        The Lego Prize, The Lego Foundation

   SELECTED EDITORIAL / PEER REVIEW ACTIVITIES

   1983-90     Child Development, Consulting Editor

   1983-95     Infant Mental Health Journal, Editorial Board (1983-86), Associate Editor (1987-
               92), Consulting Editor (1993-95)

   1984        Grants Review Panel, Division of Maternal and Child Health, U.S. Department of
               Health and Human Services

   1985-90     Journal of Child Neurology, Editorial Board

   1987-94     Topics in Early Childhood Special Education, Editorial Board

   1989-94     Journal of Early Intervention, Editorial Board

   1993-94     Rudolph’s Pediatrics – 20th Edition, Associate Editor

   1998-2001   Rudolph’s Pediatrics – 21st Edition, Associate Editor

   SELECTED CONSULTATIONS / ADVISORY PANELS / PUBLIC SERVICE

   1979-94     Pediatric Consultant, Division for Children with Special Health Care Needs,
               Bureau of Family and Community Health, Massachusetts Department of Public
               Health

   1981        Consultant, Panel on Selection and Placement of Students in Programs for the
               Mentally Retarded, Committee on Child Development Research and Public
               Policy, Commission on Behavioral and Social Sciences and Education, National
               Research Council/National Academy of Sciences


   1982-84     Member, Panel to Review the Status of Basic Research on School-Age Children,
               Committee on Child Development Research and Public Policy, Commission on
               Behavioral and Social Sciences and Education, National Research
               Council/National Academy of Sciences

   1982-91     Member, Massachusetts Developmental Disabilities Council


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   1984        Member, Early Childhood Education Policy Task Force, Massachusetts
               Department of Education

   1984-86     Member, Early Childhood Interagency Advisory Board, Division of Special
               Education, Massachusetts Department of Education

   1985-2008   Member, Board of Directors, Zero-To-Three: National Center for Infants,
               Toddlers, and Families

   1985        Consultant, Working Group on Mental Health Services for Children, Office of
               Technology Assessment, United States Congress

   1986        Member, Task Force on the Future of Early Childhood Special Education
               Programs, Office of Special Education and Rehabilitation Services, United States
               Department of Education

   1987-90     Member, Panel on Child Care Policy, Committee on Child Development Research
               and Public Policy, Commission on Behavioral and Social Sciences and Education,
               National Research Council/National Academy of Sciences

   1989        Consultant, Workshop on Developmental Follow-up Strategies, National
               Institutes of Health, U.S. Department of Health and Human Services

   1989-90     Member, National Advisory Board, Head Start Evaluation Design Project,
               Administration for Children, Youth and Families, U.S. Department of Health and
               Human Services

   1990-91     Consultant, National Health/Education Consortium, National Commission to
               Prevent Infant Mortality and Institute for Educational Leadership, Washington,
               DC

   1991-92     Member, National School Readiness Task Force, National Association of State
               Boards of Education

   1991-92     Member of Planning Committee and Symposium Organizer, National Conference
               on School Readiness: Scientific Perspectives, Maternal and Child Health Bureau
               and the Office of the Surgeon General, U.S. Department of Health and Human
               Services

   1991-94     Member, Early Childhood Expert Panel to Establish National Guidelines for
               Preventive Health Services and Health Promotion, Bright Futures Project,
               Maternal and Child Health Bureau and Medicaid Bureau, U.S. Department of
               Health and Human Services

   1992        Member, Review Panel, Network on Early Childhood Transitions, John D. and
               Catherine T. MacArthur Foundation

   1992        Consultant, Action Team on School Readiness, National Governors’ Association

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   1994        Consultant, National Education Goals Panel, Washington, DC

   1992-93     Steering Group Member, National Forum on the Future of Children and Families,
               Institute of Medicine and the Commission on Behavioral and Social Sciences and
               Education, National Research Council/National Academy of Sciences

   1993-2001   Board on Children, Youth, and Families, Institute of Medicine and the
               Commission on Behavioral and Social Sciences and Education, National Research
               Council/ National Academy of Sciences
                Vice Chair (1993-97)
                Chair (1997-2000)
                Liaison Member, Committee on the Assessment of Family Violence
                      Interventions (1994-97)
                Member, Roundtable on Head Start Research (1994-97)
                Chair, Workshops on Child Care (1995-96)
                Chair, Committee on Integrating the Science of Early Childhood
                      Development (1998-2001)

   1993-94     Member, Advisory Committee, National Conference on Research Priorities,
               Maternal and Child Health Bureau, U.S. Department of Health and Human
               Services

   1994-95     Member, Working Group on Definitions for Children With Special Health Care
               Needs, Maternal and Child Health Bureau, U.S. Department of Health and
               Human Services

   1995-98     Member, Core Group, John D. and Catherine T. MacArthur Foundation Research
               Network on Successful Pathways through Middle Childhood

   1997        Member, Advisory Board, Center for the Future of Children, David and Lucile
               Packard Foundation

   1997-98     Member, Advisory Committee, Health and Human Services Program, The Heinz
               Endowments

   1998        Member, Director’s Advisory Panel on the NICHD Study of Early Child Care,
               National Institute of Child Health and Human Development, National Institutes of
               Health

   1998        Member, Family and Health Care Working Group, Governor’s Transition Team,
               Commonwealth of Massachusetts

   1998-2005   Member, Scientific Core Group, John D. and Catherine T. MacArthur Foundation
               Research Network on Early Experience and Brain Development

   2002-09     Consultant, U.S. Senate Committee on Health, Education, Labor, and Pensions

   2002        Consultant, Domestic Policy Advisor to the President, The White House

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   2007          Consultant, Speaker of the House of Representatives, U.S. Congress

   2012-14       Faculty Member, Early Learning Fellowship, National Conference of State
                 Legislators

   2019          Testimony on the Government’s Family Separation Policy. Congress of The
                 United States. House of Representatives. Committee on Energy and
                 Commerce. Subcommittee on Oversight and Investigations.

   HOSPITAL APPOINTMENTS

   1976-present Boston Children’s Hospital, Boston, Massachusetts
                 Active Medical Staff (1976-79)
                 Courtesy Medical Staff (1979-90)
                 Consulting Staff (1990- )

   1979-94       University of Massachusetts Medical Center, Worcester, Massachusetts, Active
                 Medical Staff

   1979-94       St. Vincent Hospital, Worcester, Massachusetts, Courtesy Staff

   1979-94       Medical Center of Central Mass, Worcester, Massachusetts, Courtesy Staff


   SELECTED PROFESSIONAL MEMBERSHIPS

   1977-96       Ambulatory Pediatric Association

   1979-present American Academy of Pediatrics
                  Section on Developmental and Behavioral Pediatrics
                      Executive Committee (1983-88)
                      Program Chairman (1983-85)
                      Awards Committee Chairman (1985-87)
                  Editorial Board, Caring for Your Baby and Young Child (1985-88; 1996)

   1980-present Society for Research in Child Development
                  Publications Committee (1991-98; Chair, 1993-95)
                  Governing Council (1995- 2001)

   1982-96       Society for Developmental and Behavioral Pediatrics
                    Program Committee (1983-84)

   CERTIFICATION

   1973          Diplomate – National Board of Medical Examiners (#122655)
   1977          Diplomate – American Board of Pediatrics (#20943)



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   MEDICAL LICENSURE

   1973          New York (#116735)
   1975          Massachusetts (#37874)

   PUBLICATIONS

   Books and Monographs

   1. Levine M., Brooks R, Shonkoff J.: A Pediatric Approach to Learning Disorders. New York,
      John Wiley & Sons, 1980.

   2. Shonkoff J., Jarman F., Kohlenberg T.: Family transitions, crises, and adaptations. Current
      Problems in Pediatrics 1987; 17: 503-553.

   3. Meisels S., Shonkoff J. (eds.): Handbook of Early Childhood Intervention. New York,
      Cambridge University Press, 1990.

   4. Shonkoff J., Hauser-Cram P., Krauss M., Upshur C.: Development of Infants with
      Disabilities and Their Families – Implications for Theory and Service Delivery. Monographs
      of the Society for Research in Child Development 1992; 57(6): Serial number 230.

   5. Harel S., Shonkoff J. (eds.): Early Childhood Intervention and Family Support Programs:
      Accomplishments and Challenges. Jerusalem, JDC Brookdale Institutes, 1996.

   6. Shonkoff J., Phillips D., Keilty B. (eds.): Early Childhood Intervention: Views from the
      Field. Committee on Integrating the Science of Early Childhood Development, Board on
      Children, Youth, and Families, Commission on Behavioral and Social Sciences and
      Education, National Research Council and Institute of Medicine. Washington, DC, National
      Academy Press, 2000.

   7. Shonkoff J., Meisels S. (eds.): Handbook of Early Childhood Intervention, Second Edition.
      New York, Cambridge University Press, 2000.

   8. National Research Council and Institute of Medicine: From Neurons to Neighborhoods: The
      Science of Early Childhood Development. Committee on Integrating the Science of Early
      Childhood Development, Shonkoff J., Phillips D. (eds.) Board on Children, Youth, and
      Families, Commission on Behavioral and Social Sciences and Education. Washington, DC,
      National Academy Press, 2000.

   9. Hauser-Cram P., Warfield M., Shonkoff J., Krauss M.: Children With Disabilities: A
      Longitudinal Study of Child Development and Parent Well-being. Monographs of the Society
      for Research in Child Development 2001; 66(3): Serial number 266.

   Peer-Reviewed Journal Articles

   1. Shonkoff J., Dworkin P., Leviton A., Levine M.: Primary care approaches to developmental
      disabilities. Pediatrics 1979; 64:506-514.

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   2. Dworkin P., Shonkoff J., Leviton A., Levine M.: Training in developmental pediatrics – How
      practitioners perceive the gaps. American Journal of Diseases of Children 1979; 133:709-
      712.

   3. Shonkoff J.: Biological and social factors contributing to mild mental retardation. In Heller
      K., Holtzman W., Messick S. (eds): Placing Children in Special Education: A Strategy for
      Equity. Washington, DC, National Academy Press, 1982.

   4. Shonkoff J.: The limitations of normative assessments of high risk infants. Topics in Early
      Childhood Special Education 1983; 3(1): 29-43.

   5. Shonkoff J.: Social support and the development of vulnerable children. American Journal of
      Public Health 1984; 74:310-312.

   6. Shonkoff J.: The biological substrate and physical health in middle childhood. In Collins W.
      A. (ed.): Development During Middle Childhood – The Years From Six to Twelve.
      Washington, DC, National Academy Press, 1984.

   7. Shonkoff J.: Social support and vulnerability to stress. Pediatric Annals; 1985; 14:550-554.

   8. Mott S., Fewell R., Lewis M., Meisels S., Shonkoff J., Simeonsson R.: Measuring child and
      family outcomes in early childhood special education programs: Some views from the field.
      Topics in Early Childhood Special Education 1986; 6(2):1-15.

   9. Shonkoff J., Hauser-Cram P.: Early intervention for disabled infants and their families – A
      quantitative analysis. Pediatrics 1987; 80: 650-658.

   10. Shonkoff J., Hauser-Cram P., Krauss M.W., Upshur C.: Early intervention efficacy research
       – What have we learned and where do we go from here? Topics in Early Childhood Special
       Education 1988; 8:81-93.

   11. Hauser-Cram P., Upshur C., Krauss M., Shonkoff J.: Implications of Public Law 99-457 for
       early intervention services for infants and toddlers with disabilities. Social Policy Report.
       Washington, DC, Society for Research in Child Development, 1988; 3(3): 1-16.

   12. Kruskal M., Thomasgard M., Shonkoff J.: Early intervention for vulnerable infants and their
       families: An emerging agenda. Seminars in Perinatology 1989; 13:506-512.

   13. Shonkoff J., Meisels S.: Defining eligibility for services under Public Law 99-457. Journal of
       Early Intervention 1991; 15:21-25.

   14. Shonkoff J., Kennell J.: Research in behavioral-developmental pediatrics: New frontiers and
       elusive boundaries. Pediatrics 1992; 90:787-788.

   15. Krauss M., Upshur C., Shonkoff J., Hauser-Cram P.: The impact of parent groups on mothers
       of infants with disabilities. Journal of Early Intervention 1993; 17:8-20.




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   16. Shonkoff J.: Reflections on an emerging academic discipline: The prolonged gestation of
       developmental and behavioral pediatrics. Journal of Developmental and Behavioral
       Pediatrics 1993; 14:409-412.

   17. Farran D., Shonkoff J.: Developmental disabilities and the concept of school readiness. Early
       Education and Development 1994; 5:141-151.

   18. Thomasgard M., Metz P., Edelbrock C., Shonkoff J.: Parent-child relationship disorders. Part
       I. Parental overprotection and the development of the Parent Protection Scale. Journal of
       Developmental and Behavioral Pediatrics 1995; 16:244-250.

   19. Thomasgard M., Shonkoff J., Metz P., Edelbrock C.: Parent-child relationship disorders. Part
       II. The vulnerable child syndrome and its relation to parental overprotection. Journal of
       Developmental and Behavioral Pediatrics 1995; 16:251-256.

   20. Newacheck P., Strickland B., Shonkoff J., Perrin J., McPherson M., McManus M., Lauver
       C., Fox H., Arango P.: An epidemologic profile of children with special health care needs.
       Pediatrics 1998; 102:117-123.

   21. McPherson M., Arango P., Fox H., Lauver C., McManus M., Newacheck P., Perrin J.,
       Shonkoff J., Strickland B.: A new definition of children with special health care needs.
       Pediatrics 1998; 102:137-140.

   22. Warfield M., Krauss M., Hauser-Cram P., Upshur C., Shonkoff J.: Adaptation during early
       childhood among mothers of children with disabilities. Journal of Developmental and
       Behavioral Pediatrics 1999; 20:9-16.

   23. Hauser-Cram P., Warfield M., Shonkoff J., Krauss M., Upshur C., Sayer A.: Family
       influences on adaptive development in young children with Down syndrome. Child
       Development 1999; 70:979-989.

   24. Shonkoff J.: Science, policy, and practice: Three cultures in search of a shared mission.
       Child Development 2000; 71:181-187.

   25. Warfield M., Hauser-Cram P., Krauss M., Shonkoff J., Upshur C.: The effect of early
       intervention services on maternal well-being. Early Education and Development 2000;
       11:499-517.

   26. Shonkoff, J.: From Neurons to Neighborhoods: Old and New Challenges for Developmental
       and Behavioral Pediatrics. Journal of Developmental and Behavioral Pediatrics 2003; 24:70-
       76.

   27. Knudsen, E, Heckman, J, Cameron, J, Shonkoff, J.: Economic, neurobiological and
       behavioral perspectives on building America's future workforce. Proceedings of the National
       Academy of Sciences 2006; 103: 10155-10162.




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   28. Shonkoff, J.: A promising opportunity for developmental and behavioral pediatrics at the
       interface of neuroscience, psychology, and social policy. Remarks on receiving the 2005 C.
       Anderson Aldrich Award. Pediatrics 2006; 118:2187-2191.

   29. Shonkoff, J., Boyce, W.T., McEwen, B.: Neuroscience, molecular biology, and the childhood
       roots of health disparities: Building a new framework for health promotion and disease
       prevention. Journal of the American Medical Association 2009; 301(21):2252-2259

   30. Shonkoff, J.: Creating the future of early childhood policy: Leveraging science to stimulate
       innovation. Issues in Science and Technology. Fall 2009 p.79-85.

   31. Shonkoff, J. Building an enhanced biodevelopmental framework to guide the future of early
       childhood policy. Child Development 2010, 81(1), 343-353.

   32. Shonkoff, J., Levitt, P. Neuroscience and the future of early childhood policy: Moving from
       why to what and how. Neuron 2010, 67, 689-691.

   33. Shonkoff, J., Bales, S.: Science does not speak for itself: Translating child development
       research for the public and its policymakers. Child Development 2011, 82 (1), 17-32.

   34. Shonkoff, J. Protecting brains, not simply stimulating minds. Science 2011, 333, 982-983.

   35. Shonkoff JP, Richter L, Van der Gaag J, Bhutta Z. An integrated scientific framework for
       child survival and early childhood development. Pediatrics 2012, 129 (2), e460-72

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       Health, Committee on Early Childhood, Adoption, and Dependent Care, Section on
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       Society for Research in Child Development. Indianapolis, Indiana. March 30, 1995.

   24. Hauser-Cram P., Warfield M., Bronson M., Krauss M.W., Shonkoff J., Upshur C.: Family
       influences on changes in school competence of young children with Down syndrome.
       Presented to Society for Research in Child Development. Washington, DC. April 4, 1997.

   25. Krauss M.W., Warfield M., Hauser-Cram P., Shonkoff J.: Peeling the onion: The complexity
       of understanding parental adaptation to a child with a disability. Presented to the Society for
       Research in Child Development. Washington, DC. April 6, 1997.

   26. Shonkoff J., Heckman J., Knudsen E., Cameron J, Duncan G.: The convergence of child
       development, neuroscience, and economics to guide early childhood policy. Presented to the
       Society for Research in Child Development. Atlanta, Georgia. April 9, 2005

   Publications of the National Scientific Council on the Developing Child, National
   Forum on Early Childhood Policy and Programs, and Center on the Developing Child

   1. National Scientific Council on the Developing Child. (2004). Young Children Develop in an
      Environment of Relationships. Working Paper No.1 http://www.developingchild.harvard.edu

   2. National Scientific Council on the Developing Child. (2004). Children's Emotional
      Development is Built into the Architecture of their Brain. Working Paper No. 2.
      http://www.developingchild.harvard.edu

   3. National Scientific Council on the Developing Child. (2005 / 2009 / 2014). Excessive Stress
      Disrupts the Architecture of the Developing Brain. Working Paper No. 3.
      http://www.developingchild.harvard.edu

   4. National Scientific Council on the Developing Child. (2006). Early Exposure to Toxic
      Substances Damages Brain Architecture. Working Paper No. 4.
      http://www.developingchild.harvard.edu

   5. National Scientific Council on the Developing Child. (2007). The Science of Early Childhood
      Development: Closing the Gap Between What We Know and What We Do.
      http://www.developingchild.harvard.edu



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   6. Center on the Developing Child. (2007). A Science-Based Framework for Early Childhood
      Policy: Using Evidence to Improve Outcomes in Learning, Behavior, and Health for
      Vulnerable Children. http://www.developingchild.harvard.edu

   7. National Scientific Council on the Developing Child. (2007). The Timing and Quality of
      Early Experiences Combine to Shape Brain Architecture. Working Paper No. 5.
      http://www.developingchild.harvard.edu

   8. National Forum on Early Childhood Program Evaluation. (2007). Early Childhood Program
      Evaluations: A Decision-Maker’s Guide. http://www.developingchild.harvard.edu

   9. National Scientific Council on the Developing Child (2008). Mental Health Problems in
      Early Childhood Can Impair Learning and Behavior for Life. Working Paper No. 6.
      http://www.developingchild.harvard.edu

   10. National Forum on Early Childhood Program Evaluation (2008). Workforce Development,
       Welfare Reform, and Child Well-Being. Working Paper No. 7.
       http://www.developingchild.harvard.edu

   11. Center on the Developing Child at Harvard University (2009). Maternal Depression Can
       Undermine the Development of Young Children: Working Paper No. 8.
       http://www.developingchild.harvard.edu

   12. National Scientific Council on the Developing Child (2010). Persistent Fear and Anxiety
       Can Affect Young Children’s Learning and Development: Working Paper No. 9.
       http://www.developingchild.harvard.edu

   13. National Scientific Council on the Developing Child (2010). Early Experiences Can Alter
       Gene Expression and Affect Long-Term Development: Working Paper No. 10.
       http://www.developingchild.harvard.edu

   14. Center on the Developing Child at Harvard University (2010). The Foundations of Lifelong
       Health Are Built in Early Childhood. http://www.developingchild.harvard.edu

   15. Center on the Developing Child at Harvard University (2011). Building the Brain’s “Air
       Traffic Control” System: How Early Experiences Shape the Development of Executive
       Function: Working Paper No.11. http://www.developingchild.harvard.edu

   16. National Scientific Council on the Developing Child (2012). The Science of Neglect: The
       Persistent Absence of Responsive Care Disrupts the Developing Brain: Working Paper
       No.12. http://www.developingchild.harvard.edu

   17. Center on the Developing Child at Harvard University (2014). A Decade of Science
       Informing Policy: The Story of the National Scientific Council on the Developing Child.
       http://www.developingchild.net




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   18. National Scientific Council on the Developing Child (2015). Supportive Relationships and
       Active Skill-Building Strengthen the Foundations of Resilience: Working Paper No. 13.
       http://www.developingchild.harvard.edu

   19. Center on the Developing Child at Harvard University (2016). Building Core Capabilities for
       Life: The Science Behind the Skills Adults Need to Succeed in Parenting and in the
       Workplace. http://www.developingchild.harvard.edu

   20. Center on the Developing Child at Harvard University (2016). From Best Practices to
       Breakthrough Impacts. A Science-Based Approach to Building a More Promising Future for
       Young Children and Families Facing Adversity. http://www.developingchild.harvard.edu

   21. Center on the Developing Child at Harvard University (2016). Applying the Science of Child
       Development in Child Welfare Systems. http://www.developingchild.harvard.edu

   22. Center on the Developing Child at Harvard University (2017). Three Principles to Improve
       Outcomes for Children and Families. http://www.developingchild.harvard.edu

   23. National Scientific Council on the Developing Child. (2018). Understanding Motivation:
       Building the Brain Architecture That Supports Learning, Health, and Community
       Participation: Working Paper No. 14. http://www.developingchild.harvard.edu

   GRANTS, CONTRACTS, AND GIFTS

   1980-83       Kellogg National Fellowship
                 W.K. Kellogg Foundation
                 $30,000

   1980-83       Project Director, UMMC Child Development Service
                 Massachusetts Department of Mental Health
                 $389,650

   1980-83       Project Director, UMMC Child Development Service
                 Massachusetts Department of Public Health
                 $455,460

   1983-92       Project Director, Early Intervention and Family Support Program
                 Massachusetts Department of Public Health
                 $2,399,257

   1984-85       Principal Investigator, A Collaborative Assessment of Early Intervention for
                 Disabled Infants and their Families
                 Grant MCJ-253384, Division of Maternal and Child Health, BHCDA, USDHHS
                 $45,000




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   1984-85     Principal Investigator, A Collaborative Assessment of Early Intervention Services
               for Disabled Infants and their Families
               Jessie B. Cox Charitable Trust
               $45,000

   1985-88     Principal Investigator, Early Intervention for Disabled Infants and the Families: A
               Collaborative Study of its Impacts
               Jessie B. Cox Charitable Trust
               $160,000

   1986-89     Principal Investigator, Early Intervention: A Collaborative Study of Its Impacts
               Grant MCJ-250533, Division of Maternal and Child Health, BHCDA, USDHHS
               $1,069,842

   1986-94     Project Director, Training Program in Behavioral and Developmental Pediatrics
               Grant MCJ-9092, Bureau of Maternal and Child Health and Resources
               Development, USDHHS
               $1,225,669

   1987-88    Project Director, Handbook of Early Childhood Intervention
              The Harris Foundation
              $10,000

   1987        Principal Investigator, Early Intervention Collaborative Study – Phase II
               Jessie B. Cox Charitable Trust
               $50,000

   1989-91     Principal Investigator, An Investigation of Resilience in High Risk Preschoolers
               Foundation for Child Development
               $107,567

   1989-93     Principal Investigator, Early Intervention Collaborative Study: Preschool Phase
               Grant MCJ-250583, Maternal and Child Health Bureau, USDHHS
               $1,234,800

   1989-93     Principal Investigator, An Investigation of Resilience in High Risk Preschoolers
               Massachusetts Department of Education
               $350,138

   1993-96     Principal Investigator, Early Intervention Collaborative Study: A School-Focused
               Follow-up at Age 8
               Massachusetts Department of Education
               $306,745

   1994-98     Principal Investigator, Early Intervention Collaborative Study: Age 10 Follow-up
               Grant MCJ-250544, Maternal and Child Health Bureau, USDHHS
               $944,767



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   1998-2001   Principal Investigator, Maternal and Child Health Policy Center for Excellence
               Grant MCJ-259639, Maternal and Child Health Bureau, USDHHS
               $323,231

   1999-2003   Co-Investigator, Early Intervention Collaborative Study Phase IV: Adolescence
               Grant R40 MC001770, Maternal and Child Health Bureau, USDHHS
               Subcontract 792-1 from Boston College ($145,739)

   2001-04     Principal Investigator, Massachusetts Early Childhood Linkage Initiative
               A.L. Mailman Family Foundation, Inc.
               $130,375

   2003-06     Project Director, Heller School Building Project
               Health Resources and Services Administration, U.S. Department of Health and
               Human Services
               $1,885,000

   2003-04     Chair, National Scientific Council on the Developing Child
               Ewing Marion Kauffman Foundation
               $200,000

   2003-05     Co-Investigator, Massachusetts Early Childhood Linkage Initiative
               Annie E. Casey Foundation
               $100,000

   2003-07     Chair, National Scientific Council on the Developing Child
               Johnson & Johnson Pediatric Institute
               $300,000

   2004-09     Chair, National Scientific Council on the Developing Child
               John D. and Catherine T. MacArthur Foundation
               $950,000

   2004-09     Chair, National Scientific Council on the Developing Child
               Susan A Buffett Foundation
               $500,000

   2005        Project Director, Heller School Building Project
               Schneider Family Foundation
               $15,000,000

   2005-09     Chair, National Scientific Council on the Developing Child
               The Buffett Early Childhood Fund
               $1,100,000




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   2007-08       Chair, National Forum on Early Childhood Program Evaluation
                 McCormick Tribune Foundation
                 $250,000

   2007-09       Chair, National Scientific Council on the Developing Child
                 Pierre and Pamela Omidyar Fund
                 $1,030,000

   2007-09       Chair, National Forum on Early Childhood Policy and Programs
                 The Buffett Early Childhood Fund
                 $1,150,000

   2007-10       Chair, National Forum on Early Childhood Policy and Programs
                 Anonymous Donor
                 $425,000

   2008-10       Principal Investigator, Global Children’s Initiative
                 Ozyegin Foundation
                 $750,000

   2008-12       Project Director, Communications
                 Norlien Foundation
                 $500,000

   2009-10       Project Director, Comparative Assessment of the Impact of Early Adversity on
                 Mental and Physical Health Across the Life Span
                 George Kaiser Family Foundation
                 $1,125,000

   2009-11       Project Director, The Tulsa Children’s Project
                 George Kaiser Family Foundation
                 $2,174,451

   2009-11       Project Director, Science-Policy-Practice Network on Child Mental Health
                 The Norlien Foundation
                 $2,300,000

   2010-13       Project Director, The Early Childhood Innovation Project / Frontiers of
                 Innovation
                 Birth-To-Five Policy Alliance
                 $2,600,000

   2007-present Project Director, Center on the Developing Child at Harvard University
                The Buffett Early Childhood Fund
                $12,500,000




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   2010-12     Project Director, Center on the Developing Child at Harvard University
               Casey Family Programs Foundation
               $1,800,000

   2011-12     Project Director, Global Children’s Initiative
               Pierre and Pamela Omidyar Fund
               $450,000

   2011-13     Project Director, Center on the Developing Child at Harvard University
               W.K. Kellogg Family Foundation
               $3,345,000

   2011-13     Project Director, The Early Childhood Innovation Project / Frontiers of
               Innovation
               Robert Wood Johnson Foundation
               $300,000

   2011-15     Project Director, Center on the Developing Child at Harvard University
               The Norlien Foundation
               $2,250,000

   2011-17     Project Director, Frontiers of Innovation
               The Bezos Family Foundation
               $7,900,000

   2011-17     Project Director. Center on the Developing Child: Knowledge Translation and
               Communication
               Doris Duke Charitable Foundation
               $1,900,000

   2012-15     Project Director, Núcleo Ciência Pela Infância
               Jorge Paulo Lemann Foundation
               $750,000

   2012-17     Project Director, Frontiers of Innovation
               Bill & Melinda Gates Foundation
               $1,000,000

   2013-16     Project Director, Frontiers of Innovation
               Alliance for Early Success
               $900,000

   2013-15     Project Director, Center on the Developing Child at Harvard University
               The Barr Foundation
               $1,218,000




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   2013-18     Project Director, Frontiers of Innovation
               Annie E. Casey Foundation
               $1,400,000

   2013-15     Project Director, Frontiers of Innovation
               Child Welfare Fund
               $220,000

   2013-14     Project Director, Planning Grant for National Research Consortium on Toxic
               Stress and Health
               The JPB Foundation
               $240,000

   2014-19     Project Director, Frontiers of Innovation
               Hemera Foundation
               $3,700,000

   2015-21     Project Director, JPB Research Network on Toxic Stress
               The JPB Foundation
               $13,500,000

   2015        Project Director, Frontiers of Innovation
               Robert Wood Johnson Foundation
               $725,000

   2015-18     Project Director, Center on the Developing Child at Harvard University
               Palix Foundation (formerly Norlien Foundation)
               $1,300,000

   2015-17     Project Director, Expanding the Frontiers of Innovation in Latin America
               Omidyar Network
               $2,900,000

   2016-17     Project Director, Center on the Developing Child
               Startup: Education
               $750,000

   2016-19     Project Director, Center on the Developing Child
               The David and Lucile Packard Foundation
               $750,000

   2016-18     Project Director, Frontiers of Innovation
               Einhorn Family Charitable Trust
               $500,000




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   2016-19     Project Director, A Partnership to Advance Science-Based Innovation and
               Learning through Play
               The LEGO Foundation
               $3,087,095

   2016-20     Project Director, Frontiers of Innovation
               Tikun Olam Foundation
               $450,000

   2017-21     Project Director, Djokovic Science and Innovation Fellowship
               Novak Djokovic Foundation
               $400,000

   2017-20     Project Director, Frontiers of Innovation
               Genentech, Inc.
               $650,000

   2017-21     Project Director, Frontiers of Innovation
               Pritzker Children’s Initiative
               $4,052,250

   2017        Project Director, Building an Innovation Ecosystem for the Early Childhood Field
               Chan Zuckerberg Initiative
               $555,000

   2017        Project Director, Exploration of Utilizing Science-Based Innovation in
               Programming
               Auxillium/Porticus
               $313,440

   2017-18     Project Director, Executive Leadership Program in Early Childhood Development
               Bernard van Leer Foundation
               $250,000

   2018        Project Director, National Scientific Council/Center on the Developing Child
               Simms-Mann Family Foundation
               $250,000

   2018-20     Project Director, Supporting Mobilization of Science-Based Innovation
               Omidyar Network
               $1,000,000

   2018-21     Project Director, Building an Innovation Ecosystem and New Metrics for the
               Early Childhood Field
               Chan Zuckerberg Initiative
               $3,000,000




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   2019-21     Project Director, Building a Global Platform for Science-Based, Early Childhood
               Policy and Practice
               Porticus
               $1,500,000

   2019-20     Project Director, Working Group on the Science of Adversity and Resilience
               Foster Family Funds
               $100,000




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                      EXHIBIT 2




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                                       DORA B. SCHRIRO, Ed.D. J.D.
                                             EXECUTIVE EXPERIENCE
   State of Connecticut, Middletown CT (2014 – 2018)
   Commissioner, Department of Emergency Services & Public Protection (2014 – 2018)
   CT Homeland Security Advisor (2016 – 2018), both, appointed by Gov. Dannel Malloy
   CT State Police, Emergency Management & Homeland Security, Scientific Services, Fire Prevention &
   Control, Police Officer Standards & Training, and Statewide Telecommunications
   • Top Secret security clearance
   • FY2018 operating budget, $185M; federal grants, $348M; bond funding, $79M; 1817 employees
   • Focus: Public Safety & Service, Homeland Security, and Emergency Response, Recovery & Resiliency
   • Accomplishments: 1. Comprehensive procedural justice effort with body-worn cameras all state police on
        patrol, civilian complaint process, 21st century curricula for state & local law enforcement, an investigative
        protocol for officer-involved shootings, annual reports of uses of force, traffic stops and police pursuits,
        mandatory police agency accreditation, and ICE-interface protocol; 2. Drug intervention & enforcement
        including a dark-web opioid taskforce, equipping all troopers and training first responders to administer
        naloxone; 3. Other harm reduction efforts including a multi-jurisdictional cybersecurity investigative unit,
        comprehensive gun control, community-focused active shooter preparedness, wrap-around DV safety and
        support, and K-12 & post-secondary school safety planning, and Ebola & Zika first responder protocols

   City of New York, New York, New York (2009 – 2014)
   Commissioner, New York City Department of Correction, appointed by Mayor Michael Bloomberg
   • Responsible for adult detention, prisoner processing, and operation of criminal court pens, an average
        of 12,000 inmates daily and 100,000 pretrial and city-sentenced inmate admissions annually
   • FY2014 operating budget, $1.065B, capital budget, $691.9M; 10,440 employees
   • Focus: Special Populations management; Intake, Classification and Discharge Planning; Staff
        Accountability; Alternatives to Punitive Segregation; Alternatives to Detention
   • Accomplishments: 1st U.S. Social Impact Bond program funded city adolescent pre-release; Justice
        Reinvestment funded pre-release preparation for adults; pre-trial & post-plea diversion opportunities for
        the mentally ill; comprehensive reform of punitive segregation with clinical alternatives for special
        populations; centralized intake with classification, gang identification, and discharge planning

   US Department of Homeland Security, Washington DC (2009 – 2009)
   Senior Advisor to Secretary on ICE Detention and Removal, appointed by DHS Sec. Janet Napolitano
   Director, ICE Office of Detention Policy and Planning, appointed by ICE Asst. Sec. John Morton
   • Focus: Design a civil detention system satisfying all safety and security needs and legal requirements
   • Authored, 2009 Report on ICE Detention Policies and Practices: A Recommended Course of Action for Systems
       Reform, DHS’ adopted template for improving the operation of immigration detention
   • Improved the efficiency and effectiveness and increased the transparency of ICE detention operations;
       reforms included closing the Hutto FRC, instituting the detainee look-up, death-in-detention reviews

   State of Arizona, Phoenix, Arizona (2003 – 2009)
   Department Director, Arizona Department of Corrections, appointed by Gov. Janet Napolitano
   • Responsible for adult corrections and community supervision including 39,000 inmates and 7,200
        parolees daily and 55,000 felons annually (21,000 admissions/11,500 case openings)
   • FY2009 operating budget, $1.23B; 9,750 employees
   • Focus: Systems reform, re-entry, victim services, strategic planning, privatization oversight
   • Winner, 2008 Innovations in American Government, first ever prison-based reform awards recipient




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   City of St. Louis, St. Louis, Missouri (2001 – 2003)
   Commissioner of Corrections, St. Louis City Department of Public Safety, Division of Corrections
   • Responsible for adult detention, prisoner processing, and city probation and parole including 1,500 jail
       inmates and 2,000 offenders on supervision daily (9,000 admissions/63,000 bookings annually)
   • FY2003 operating budget, $68M; 615 employees
   • Focus: Population management, alternative sentencing initiatives, staff development
   • Opened and operated the city’s first combined police prisoner processing and detention center

   State of Missouri, Jefferson City, Missouri (1993 – 2001)
   Department Director, Missouri Department of Corrections, appointed by Gov. Mel Carnahan
   • Responsible for adult corrections and probation and parole services including 28,000 prisoners and
        65,000 offenders on community supervision daily, 35,000 admissions/72,000 case openings annually
   • FY2002 operating budget, $500M; 11,000 employees
   • Focus: Capital construction, systems and sentencing reform, litigation reduction, restorative justice
   • Winner, Council of State Governments Innovations award program; four-time Innovations in
        American Government Finalist and Semi-Finalist

   City of St. Louis, St. Louis Missouri (1989 – 2001)
   Correctional Superintendent, St. Louis City Division of Corrections, Department of Public Safety
   • Responsible for 600 pre-trial and city sentenced inmates, 4,000 admissions annually
   • FY1993 operating budget, $26M; 210 employees
   • Focus: Court oversight, overcrowding, certified juveniles, community relations

   City of New York, New York, New York (1984 – 1989)
    Assistant Commissioner, New York City Department of Correction, appointed by Mayor Ed Koch
   • Responsible for design and delivery of inmate programs services, programs development, grants
   • Services provided to 100,000 pre-trial and city sentenced inmates annually by 200 employees
   • Focus: Public-funded and accredited education, school-aged inmates; contracts management
   Assistant Deputy Director, Office of the Mayor, Coordinator of Criminal Justice
   • Grants administration, federal and state funded systems reforms, $189M annually
   • Focus: administration of intermediate sanctions, policy analysis, applied research

                                   CONSULTING SERVICES
   Dora B Schriro Consulting Services LLC (est. 2013)

                                               EDUCATION
   St. Louis University, St. Louis, Missouri, Juris Doctorate, School of Law (2002)
   Columbia University, New York, New York, Doctor of Education, Teachers College (1984)
   University of Massachusetts at Boston, Massachusetts, Master of Education (1980)
   Northeastern University, Boston, Massachusetts, Bachelor of Arts cum laude (1972)

                                   MANAGERIAL PROGRAMS
   Council of State Governments, Toll Fellowship (2018)
   Harvard University, JFK School of Government, Innovations in Governance (2005)
   Harvard University, JFK School of Government, Strategic Public Sector Negotiations (1996)
   Harvard University, JFK School of Government, Senior Executives in State and Local Government (1992)




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                                  HONORS AND AWARDS, INNOVATIONS
   Innovations in American Government, 2008 Winner, Getting Ready: Keeping Communities Safe
   Innovations in American Government, 2000 Semi-finalist, Correcting Corrections
   Innovations in American Government, 1999 Semi-finalist, Constituent Services
   Innovations in American Government, 1998 Semi-finalist, Pre-Promotional Training
   Innovations in American Government, 1997 Finalist, Constituent Services
   Council of State Governments, 1998 Innovations Award Winner, Waste Tire to Energy
   Council of State Governments, 1997 Innovations Award Regional Finalist, Pre-Promotional Training
   Council of State Governments, 1996 Innovations Award Finalist, Constituent Services

                                    OTHER HONORS AND AWARDS
   U.S. Department of Justice, Office for Victims of Crime, Allied Professional Award, 2012
   Florida Immigrant Advocacy Center, American Justice Award, 2011
   Hofstra University (Hempstead, New York) Presidential Medal, 2010
   National Governors Association, Distinguished Service to State Government Award, 2006
   Arizona Parents of Murdered Children, Filling Empty Shoes, 2006 Honoree
   Farmingdale Public Schools (Farmingdale, New York), Wall of Fame, 2001 Inductee
   St. Louis Forum, Trailblazer Award, 2000
   Association of Correctional Administrators, Michael Francke Award for Outstanding Leadership, 1999
   Jefferson City (Missouri) Ten Most Influential Women, 1998
   Missouri Governor Award for Quality and Productivity, 1993, 1994, 1995, 1996, 1997, 1998, 1999, 2000
   Missouri Governor Torch of Excellence Gold Award, 1999
   Missouri Governor Torch of Excellence Award, 1997
   International Association of Correctional Training Personnel Award, Pre-Promotional Training, 1996
   Women’s Self-Help Center, Twenty Distinguished Women, 1996
   St. Louis (Missouri) YWCA Special Leadership Award for a Government Official, 1995
   Jefferson City (Missouri) News Tribune Statesman of the Month, June 1995

                            PUBLICATIONS, IMMIGRATION DETENTION REFORM
   Weeping in the Playtime of Others: The Obama Administration's Failed Reform of ICE Family Detention Practices in
   Journal on Migration and Human Security, The Law that Begot the Modern U.S. immigration Enforcement
   System: IIRIRA 20 Years Later (December 2018)
   Women and Children First: An Inside Look at the Impediments to Reforming Family Detention in the U.S. in
   Challenging Immigration Detention, ed. by Flynn and Flynn. Edward Elgar Publishing (September 2017)
   Afterword, Intimate Economies, Anomie and Moral Ambiguity in Intimate Economies of Immigration Detention:
   Critical Perspectives, ed. by Conlon and Hiemstra. Routledge Publishers (2016)
   Improving Conditions of Confinement for Immigrant Detainees: Guideposts toward a Civil System of Civil Detention in
   The New Deportation Delirium, ed. by Kanstroom and Lykes. NYU Press (2015)
   Family Immigration Detention: The Past Cannot be Prologue, co-author, ABA Commission on Immigration
   (2015)
   Envisioning a Civil System of Civil Detention: Our Opportunity, Our Challenge (Foreword) in Outside Justice, ed.
   by Brotherton, Stageman and Leyro. Springer Press (2013)
   Improving Conditions of Confinement for Criminal Inmates and Immigrant Detainees, American
   Criminal Law Review, Georgetown University Law Center (Fall 2010)
   The 2009 Report on ICE Detention Policies and Practices: A Recommended Course of Action for Systems
   Reform, U.S. Department of Homeland Security (October 2009)
   Rethinking Civil Detention and Supervision, Arizona Attorney (July – August 2009)




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                                      PUBLICATIONS, CORRECTIONS REFORM
   Smart and Safe: Making the Most of Adolescents’ Time in Detention, the Physical Plant, Our Workforce, and the
   “What Works’ Literature, in The State of Criminal Justice, American Bar Association (2013)
   Corrections: The Justice-Involved Mentally Ill, A Practitioner’s Perspective, in The State of Criminal Justice,
   American Bar Association (2012)
   Good Science, Good Sense: Making Meaningful Change Happen – A Practitioner’s Perspective, Criminology &
   Public Policy, Vol. 11, No. 1, Special Issue (February 2012)
   Is Good Time a Good Idea? Federal Sentencing Reporter, Vol. 21, No. 3 (February 2009)
   Correcting Corrections: The Arizona Plan: Creating Conditions for Positive Change in Corrections, Confronting
   Confinement: A Report of the Commission on Safety and Abuse in American Prisons (2006)
   Missouri’s Parallel Universe: Blueprint for Effective Prison Management, Corrections Today (April 2001)
   Correcting Corrections: Missouri’s Parallel Universe, Papers from the Executive Sessions on Sentencing and
   Corrections, U.S. Department of Justice, Office of Justice Programs (May 2000)
   Avoiding Inmate Litigation: The ‘Show-Me’ State Shows How, Sheriff’s Magazine, (March – April 1999)
   Best Practices: Excellence in Corrections, American Correctional Association (August 1998)
   Reducing Inmate Litigation, Corrections Today (August 1998)
   Corrections Management Quarterly, Issue Editor, Aspen Publications (1997)
   Currents, Leadership St. Louis, Danforth Foundation (1992)
   What Makes Correctional Education Educational, Journal of Correctional Education (September 1986)
   Safe Schools, Sound Schools, ERIC Clearinghouse on Urban Education (January 1985)
   What Works with Serious Juvenile Offenders: US Experience, Juvenile Delinquency in Australia (1984)
   What Makes Correctional Education Educational: Ethnography of an Instructionally Effective School,
   University Microfilm (1983)

   STANDARDS, SENTENCING AND RELATED CIVIL-CRIMINAL JUSTICE REFORM ACTIVITIES
   Women’s Refugee Commission, Commissioner (2012–2019)
   American Bar Association, Commission on Immigration, Special Advisor (2019–2020)
   American Bar Association, Commission on Immigration, Advisory Board Member (2017–2019)
   American Bar Association, Commission on Immigration, Standards for the Custody, Placement and Care;
   Legal Representation, and Adjudication of Unaccompanied Alien Children in the United States (2018)
   U.S. Dept. of Homeland Security, DHS Family Residential Ctr. Advisory Committee, member (2015–2016)
   American Bar Association, Commission on Immigration, Commissioner (2014–2016)
   American Bar Association, Corrections Committee, Co-chair, Standing Subcommittee on Punitive
   Segregation, (2012 – 2014)
   American Bar Association, Commission on Immigration, Civil Detention Standards Task Force (2011–
   2012)
   American Bar Association, Criminal Justice Standards Subcommittee, ACA representative (2005–2008)
   Arizona State University School of Law, Sentencing Policy Seminar (2004–2005)
   Arizona Attorney General Sentencing Advisory Committee (2004–2008)
   St. Louis University School of Law, Instructor, Sentencing Policy Seminar (2000–2002)
   Missouri Sentencing Advisory Commission, Vice Chair (1994–2001)
   U.S. Department of Justice Executive Sessions on Sentencing and Corrections, in conjunction with Harvard
   University JFK School of Government and University of Minnesota Law School (1997–2000)
   Partnership for Criminal Justice Workshop, Institute on Criminal Justice, University of Minnesota Law
   School, State Partner (1997–2000)
   State Sentencing and Corrections Program, Vera Institute of Justice, National Associate (1999–2002)
   U.S. Dept. of Justice, Bureau of Justice Assist., Discretionary Grant Program, Peer Reviewer (1994–2002)




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         PRE-DOCTORAL EMPLOYMENT, LECTURING AND RELATED EXPERIENCE
   Employment
   • Director, Correctional Education Consortium, Long Island City, New York (1982 – 1983)
   • Supervising Social Worker, Franklin Public Schools, Franklin, Massachusetts (1978 – 1981)
   • Director, Adult and Continuing Education, Franklin Public Schools, Franklin, MA (1978 – 1981)
   • Director, Staff Development, Wrentham State School, Wrentham, Massachusetts (1977 – 1978)
   • Contract Program Manager, Medfield-Norfolk Prison Project, Medfield, Massachusetts (1974 – 1976)

   Academic Experience
   • Instructor, Arizona State University School of Law, Corrections Law Seminar (2005 – 2008)
   • Instructor, St. Louis University School of Law, Sentencing Policy (2000 – 2002)
   • Senior Policy Fellow, Public Policy Research Center, University of Missouri-St. Louis (2001)
   • Visiting Lecturer, Strategic Planning, National Institute of Corrections (1998 – 2002)
   • Adjunct Professor, Criminal Justice, University of Missouri-St. Louis (1990 – 1998)
   • Adjunct Professor, Criminal Justice, Long Island University at C.W. Post (1986 – 1988)
   • Instructor, Innovation, Open Center of New York City (1987)
   • Teaching Assistant, Field Research Methodology, Administrative Intern to the School Superintendent,
      Franklin Public Schools, Franklin, Massachusetts (1979)
   • Visiting Lecturer, Special Education, Framingham State College, Framingham, Massachusetts (1979)
   • Adjunct Professor, Psychology, Fischer Junior College, Boston, Massachusetts (1978)

   Related Activities
   • Institutional Research Board, St. Louis University (2002 – 2003)
   • Institutional Research Board, University of Missouri-St. Louis (2001 – 2003)




   Contact information:

   611 King Avenue
   City Island, NY 10464
   917-710-7029
   dora.schriro@gmail.com

   Professional References available upon request




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                      EXHIBIT 3




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                                    MARTIN GUGGENHEIM
                                 New York University School of Law
                                        245 Sullivan Street
                                    New York, New York 10012
                                           (212) 998-6460
                                    martin.guggenheim@nyu.edu

   Employment:

          NEW YORK UNIVERSITY SCHOOL OF LAW:
               Fiorello LaGuardia Professor of Clinical Law

                  Co-Director, Family Defense Clinic
                  Acting Faculty Director, Hays Civil Liberties Program

                  Courses:

                         Child, Parent & State (Seminar)
                         Family Defense Clinic (Clinic and Seminar)
                         Advanced Family Defense Clinic
                         Education Advocacy Clinic & Clinic Seminar

   Previous Positions:

                  New York University School of Law:
                  Professor of Clinical Law, 1980-2005
                  Associate Clinical Professor of Law, 1977-1980
                  Assistant Clinical Professor of Law, 1975-1977
                  Clinical Instructor in Law, 1973-1975

                  American Civil Liberties Union:
                        Acting Director, Juvenile Rights Project, 1975-1976
                        Staff Counsel, Juvenile Rights Project, 1976-1979

                  The Legal Aid Society - Juvenile Rights Division:
                        Trial Attorney, Special Litigation Unit, 1972-1974
                        Staff Counsel, Trial Division, 1971-1972


   Present Professional Activities:

   Advisor               American Law Institute, Restatement on Children and the Law

   Member                New York State Commission on Parental Legal Representation




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   Founding Organizer National Alliance for Parent Representation
                      American Bar Association

   Founding Board         Center for Family Representation, New York City

   President              National Coalition for Child Protection Reform

   Founding Board         Clinical Law Review

   Member                 Juvenile Justice Subcommittee, American Bar Association Section on
                          Criminal Justice

   Public Interest Litigation:

          I have an extensive pro bono litigation record at all levels of the state and federal courts.
          Among the cases in which I have been chief counsel are:

                  Santosky v. Kramer, 455 U.S. 745 (1982)
                  Lehman v. Lycoming County Children=s Services Agency, 458 U.S. 502 (1982)
                  Schall v. Martin, 467 U.S. 253 (1984)


   Past Professional Activities:

   Founding Organizer National Parents= Counsel Steering Committee
                      American Bar Association (2007 – 2016)

   Board of Advisors      Administration for Children’s Services, New York City (1996 – 2013)

   Member                 New York University Human Subjects Committee (1990 – 2013)

   Member                 Mayor’s Advisory Committee on the Judiciary (2008 - 2010)

   Lead Advisor           Maestral International, L.L.C. - UNICEF Project (2009 – 2012)

   Advisor                National Science Foundation, Merit Review Process (2008 – 2012)

   Consultant             Annie E. Casey Foundation, Evaluator of Legal Services Delivery for
                          Parental Representation in New Jersey (2004 - 2005)

   Director               Clinical and Advocacy Programs, New York University School of Law
                          (1987 - 2002)

   Executive Director     Washington Square Legal Services, Inc. (1987-2000)




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   Board of Advisors     Edna McConnell Clark Foundation, Children=s Program Advisory
                         Committee (1996 - 2001)

   Member                Judiciary Committee, Ass’n of Bar of the City of New York (2002 - 2005)

   Board of Directors    Brennan Center for Justice (1995 - 2001)

   Board of Advisors     Family Preservation Project, Brooklyn Legal Services (1992 - 1995)

   Consultant            American Academy of Matrimonial Lawyers, Special Concerns of Children
                         Committee (1992 - 1995 and 1999 - 2002)

   Member                Skills Training Committee, American Bar Association Section of Legal
                         Education and Admissions to the Bar (1989 - 1993)

   Consultant            Mayor’s Commission on Special Education, New York City Board of
                         Education (1984 - 1985)

   Board of Directors    Statewide Youth Advocacy (1981 - 1983)

   Member                Committee on Family Court and Family Law, Association of the Bar of the
                         City of New York (1980 - 1985)

   Consultant            American Bar Association/Institute of Judicial Administration, Juvenile
                         Justice Standards Project (1979 - 1982)

   Member                Temporary State Commission on Child Welfare, Subcommittee of Juvenile
                         Delinquency (1975 - 1977)

   Member                Juvenile Justice Task Force, New York State Division of Criminal Justice
                         Services - Standards and Goals Program (1975 - 1977)

   Publications:

          Books:

                   REPRESENTING PARENTS IN CHILD WELFARE PROCEEDINGS (American Bar
                   Association 2015) (with Vivek Sankaran co-editor)

                   TRIAL MANUAL FOR DEFENSE ATTORNEYS IN JUVENILE COURT (2014) (American
                   Bar Association) (with Randy Hertz & Anthony G. Amsterdam)

                   WHAT=S WRONG WITH CHILDREN=S RIGHTS (2007) (Harvard University Press)




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                THE RIGHTS OF FAMILIES (1996) (N. Ill. Press) (with Alex Lowe & Diane Curtis)

                THE RIGHTS OF YOUNG PEOPLE (1985) (Avon Press) (with Alan Sussman)

                THE RIGHTS OF PARENTS (1980) (Avon Press) (with Alan Sussman)

         Articles and Chapters in Books (selected):

                Effects of an Interdisciplinary Approach to Parental Representation in Child
                Welfare, 102 CHILD & YOUTH SERVS. REV. 42 (2019) (with Lucas Gerber, Yuk
                Pang, Timothy Ross, Peter Pecora and Joel Miller

                The History and Influence of the National Association of Counsel for Children –
                An Alternative Perspective, 39 CHILD LEGAL RTS. J. 12 (2019)

                The (Not So) New Law of the Child, 127 YALE L.J. F. 950 (2018)

                “The Due Process Revolution in Juvenile Court – New York and the Early Years
                after Gault,” in RIGHTS, RACE, AND REFORM: 50 YEARS OF CHILD ADVOCACY IN
                THE JUVENILE JUSTICE SYSTEM (Laura Cohen, Kristin Henning, and Ellen Marris,
                eds. 2018)

                Barry Feld: An Intellectual History of a Juvenile Court Reformer, 17 NEVADA L. J.
                371 (2017)

                Discovering Family Defense: A History of the Family Defense Clinic at NYU
                School of Law, 41 N.Y.U. REV. L. SOC. CHANGE 539 (2017) (with Chris Gottlieb
                and Madeleine Kurtz)

                Selling Kids Short: How “Rights for Kids” Turned into “Kids for Cash,” 88
                TEMPLE L. REV. 653 (2016) (with Randy Hertz)

                The Importance of Family Defense, 48 FAM. LAW QUART. 597 (2015)

                Violent Video Games and the Rights of Children and Parents: A Critique of Brown
                v. Entertainment Merchants Association, 41 HASTINGS CONST. L. Q. 707 (2014)

                Funding the People’s Right, 15 N.Y.U. J. LEGIS. & PUB. POL’Y, 619 (2012) (with
                Julian Darwall)

                The People’s Right to a Well-Funded Indigent Defender System, 36 N.Y.U. REV.
                L. SOC. CHANGE 395 (2012)




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               Graham v. Florida and a Juvenile’s Right to Age-Appropriate Sentencing, 47
               HARV. C.R.-C.L. L. REV. 457 (2012)

               J.D.B. and the Maturing of Juvenile Confession Suppression Law, 38 WASH. U.
               J.L. & POL’Y 109 (2012) (with Randy Hertz)

               The AAML=s Revised Standards for the Representation of Children in Custody and
               Visitation Proceedings: The Reporter=s Perspective, 22 JOUR. AMER. ACAD. MAT.
               LAWYERS 251 (2009)

               Polygamy and Child Welfare, 46 HOUST. L. REV. 759 (2009)

               Rediscovering Third-Party Visitation under the Common Law in New York: Some
               Uncommon Answers, 33 N.Y.U. REV. L. SOC. CHANGE 153 (2009)

               Parental Rights in Child Welfare Cases in New York City Family Courts, 40
               COLUM. J. L & SOC. PROBS. 507 (2007)

               A Law Guardian by Any Other Name: A Critique of the Matrimonial Commission
               Report, 27 PACE L. REV. 785 (2007)

               How Children=s Lawyers Serve State Interests, 6 NEVADA L. J. 805 (2006)

               Ratify the U.N. Convention on the Rights of the Child, But Don=t Expect Any
               Miracles, 20 EMORY INT=L L. REV. 43 (2006)

               Justice Denied: Delays in Resolving Child Protection Cases in New York, 12 VA.
               J. SOC. POLICY & LAW 546 (2005) (with Christine Gottlieb)

               AWhen Should Courts be Empowered to Make Child Rearing Decisions?,@ in A
               HANDBOOK OF DIVORCE AND CUSTODY: FORENSIC, DEVELOPMENTAL & CLINICAL
               PERSPECTIVES (Linda Gunsberg & Paul Hymowitz, eds. 2005)

               Stealth Indoctrination: Forced Speech in the Classroom, 2004 U. CHI. LEGAL F. 57

               Maximizing Strategies for Pressuring Adults to do Right By Children, 45 ARIZONA
               L. REV. 765 (2003)

               The Making of the Model Third-Party (Non-Parental) Contact Statute: The
               Reporter=s Perspective, 18 JOUR. AMER. ACAD. MAT. LAWYERS 15 (2002)

               Minor Rights: The Adolescent Abortion Cases, 30 HOFSTRA L. REV. 589 (2002)
               (The Sidney and Walter Siben Distinguished Professorship Lecture, October 24,
               2001)




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               AChild Welfare Policy and Practice in the United States from 1950 - 2000,@ in
               CROSS-CURRENTS: FAMILY LAW IN ENGLAND AND THE UNITED STATES SINCE
               WORLD WAR II (Sanford Katz, John Eekelaar, and Mavis Maclean, eds. 2000)

               Somebody=s Children: Sustaining the Family=s Place in Child Welfare Policy,
               REVIEW OF ELIZABETH BARTHOLET=S NOBODY=S CHILDREN: ABUSE AND NEGLECT,
               FOSTER DRIFT, AND THE ADOPTION ALTERNATIVE, 113 HARV. L. REV. 1716 (2000)

               The Foster Care Dilemma and What to do About It: Is the Problem that Too Many
               Children Are Not Being Adopted Out of Foster Care or That Too Many Children
               Are Entering Foster Care?, 2 U. PA. JOUR. CON. L. 141 (1999)

               Counseling Counsel for Children, Review of JEAN KOH PETERS=S REPRESENTING
               CHILDREN IN CHILD PROTECTIVE PROCEEDINGS, ETHICAL AND PRACTICAL
               DIMENSIONS, 97 MICH. L. REV. 1488 (1999)

               Reflections on Judges, Juries, and Justice: Ensuring the Fairness of Juvenile
               Court Trials, 33 WAKE FOREST L. REV. 533 (1998) (with Randy Hertz)

               Reconsidering the Need for Counsel for Children in Custody, Visitation and Child
               Protection Proceedings, 29 LOYOLA UNIV. CHI. L. J. 299 (1998)

               Preventive Detention and the Judicial Prediction of Dangerousness for Juveniles:
               A Natural Experiment, 86 J. CRIM. LAW & CRIMINOLOGY 415 (1996) (with Jeffrey
               Fagan)

               A Paradigm for Determining the Role of Counsel for Children, 64 FORD. L. REV.
               1501 (1996)

               AFamily Law,@ in FUNDAMENTALS OF AMERICAN LAW (Alan Morrison, ed., 1996)

               The Making of Standards for Representing Children in Custody and Visitation
               Proceedings: The Reporter=s Perspective, 13 JOUR. AMER. ACAD. MAT. LAWYERS
               201 (1995)

               The Effects of Recent Trends to Accelerate the Termination of Parental Rights of
               Children in Foster Care -- An Empirical Analysis in Two States, 29 FAM. LAW
               QUART. 121 (1995)

               Fee-Generating Clinics: Can We Bear the Costs?, 1 CLINICAL LAW REV. 677
               (1995)

               AThe Best Interests of the Child: Much Ado about Nothing?@ in CHILD, PARENT




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               AND STATE:   LAW AND POLICY READER (Randall Humm, et al., eds. 1994)

               AThe Effect of Tort Law on Child Welfare Liability,@ in LIABILITY IN CHILD
               WELFARE AND PROTECTION WORK: RISK MANAGEMENT STRATEGIES (Marcia
               Sprague & Robert M. Horowitz, eds., 1991)

               Pretrial Detention and Punishment, 75 MINN. L. REV. 335 (1990) (with Marc
               Miller)

               State Supported Foster Care: The Interplay Between the Prohibition of
               Establishing Religion and the Free Exercise Rights of Parents and Children, 56
               BROOKLYN L. REV. 603 (1990)

               AThe Child=s Access to Diverse Intellectual, Artistic and Recreational Resources,@
               in CHILDREN'S RIGHTS IN AMERICA: U.N. CONVENTION ON THE RIGHTS OF THE
               CHILD COMPARED WITH UNITED STATES LAW (Cynthia Price Cohen & Howard. A.
               Davidson eds., 1990)

               AConstitutional and Due Process Concerns: Juvenile and Family Court of the
               Future,@ in FAMILIES IN COURT (Merry Hofford, ed., 1989)

               AWaivers and Pre-Hearing Detention,@ in THE PREDICTION OF CRIMINAL VIOLENCE
               (Francis Dutile & Clyde Faust, eds., 1987)

               Divided Loyalties: Musings on Some Ethical Dilemmas for the Institutional
               Criminal Defense Attorney, 14 N.Y.U. REV. L. SOC. CHANGE 13 (1986)

               Incorrigibility Laws - The State=s Role in Resolving Intra-Family Conflict, 4
               CRIMINAL JUSTICE ETHICS 11 (1985)

               The Right to be Represented but Not Heard: Reflections on Counsel for Children
               in Judicial Proceedings, 59 N.Y.U. L. REV. 76 (1984) reprinted in David Westfall,
               FAMILY LAW (1994)

               State Intervention in the Family: Making A Federal Case Out of It, 45 OHIO ST L.J.
               399 (1984)

               The Political and Legal Implications of the Psychological Parenting Theory, 12
               N.Y.U. REV. L. SOC. CHANGE 549 (1984)

               Review, LOVE AND THE AMERICAN DELINQUENT, 77 COLUM. L. REV. 1735 (1978)

               Review, CRISIS IN THE FAMILY, THE CIVIL LIBERTIES REVIEW, Vol. 5, No. 2
               (July/Aug. (1978))




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                Paternalism, Prevention and Punishment: Pretrial Detention of Juveniles, 52
                N.Y.U. L. REV. 1064 (1977)


         Other Legal Publications (selected):

                New Study Shows Providing Parents With Multidisciplinary Legal Representation
                in Child Welfare Cases Furthers Everyone's Interests, 20 CHILDREN’S BUREAU
                EXPRESS (July-August 2019)

                Providing Parents Multidisciplinary Legal Representation Significantly Reduces
                Children’s Time in Foster Care, ABA, Child Law Practice Today June 4, 2019
                (with Susan Jacobs)

                Dark Days for Children’s Rights, 56 FAM. CT. REV. 349 (2018)

                “A New National Movement in Parent Representation,” in CLEARINGHOUSE
                REVIEW 44 (May-June 2013) (with Susan Jacobs)

                “Lassiter v. Department of Social Services,” in ENCYCLOPEDIA OF THE SUPREME
                COURT OF THE UNITED STATES (David S. Tanenhaus, ed. MacMillan/Gale (2008)

                “Moore v. City of East Cleveland,” in ENCYCLOPEDIA OF THE SUPREME COURT OF
                THE UNITED STATES (David S. Tanenhaus, ed. MacMillan/Gale (2008)

                “Santosky v. Kramer,” in ENCYCLOPEDIA OF THE SUPREME COURT OF THE UNITED
                STATES (David S. Tanenhaus, ed. MacMillan/Gale 2008)

                “Stanley v. Illinois,” in ENCYCLOPEDIA OF THE SUPREME COURT OF THE UNITED
                STATES (David S. Tanenhaus, ed. (MacMillan/Gale 2008)

                “Child Abuse,” in LAW & SOCIETY ENCYCLOPEDIA (David S. Clark, ed. Sage
                2007)

                “Termination of Parental Rights,” in THE PRAEGER HANDBOOK OF ADOPTION
                (Vern Bullough & Kathy Stolley, eds. Praeger Press 2006)

                The Court v. Good Sense, 12 CHILD WELFARE WATCH 21 (2005-2006) (with
                Christine Gottlieb)

                Symposium, AAdvocating for Change; The Status and Future of America=s Child
                Welfare System, 30 Years After CAPTA,@ 3 Cardozo Pub. L., Pol’y & Ethics J.
                359 (2005)




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               “Ethical Considerations in Child Welfare Cases: The Law Guardian’s
               Perspective,” in PRACTISING LAW INSTITUTE LITIGATION AND ADMINISTRATIVE
               PRACTICE COURSE HANDBOOK SERIES (2003)

               MODEL THIRD-PARTY (NON-PARENTAL) CONTACT STATUTE (Am. Acad.
               Matrimonial Lawyers 2002) (Reporter)

               Symposium, “The Rights of Parents with Children in Foster Care,” 6 N.Y. City L.
               Rev. 61 (2000)

               “Ethical Considerations in Child Welfare Cases: Duties of the Law Guardian and
               the Parent’s Attorney,” in PRACTISING LAW INSTITUTE LITIGATION AND
               ADMINISTRATIVE PRACTICE COURSE HANDBOOK SERIES (1998)

               PRINCIPLES FOR APPOINTMENT OF REPRESENTATIVES FOR CHILDREN IN CUSTODY
               AND VISITATION PROCEEDINGS (American Bar Association and National Council
               of Juvenile and Family Court Judges) (1997) (Principal Draftsperson)

               REPRESENTING CHILDREN: STANDARDS FOR ATTORNEYS AND GUARDIANS AD
               LITEM IN CUSTODY OR VISITATION PROCEEDINGS, (Am. Acad. Matrimonial
               Lawyers 1995) (Reporter)

               THE CRIMINAL JUSTICE SYSTEM AND THE FAMILY, A Report on the Eighth Annual
               Retreat of the Council on Criminal Justice of the Association of the Bar of the City
               of New York (1990)

               Scalia Says Father Doesn’t Know Best, LEGAL TIMES, p.15, col. 1 (July 10, 1989)

               Recusal of Judges in Juvenile Bench Trials, 2 CRIMINAL JUSTICE 26 (Summer
               1987)

               Juvenile Justice and the Rehabilitative Ideal, 2 CRIMINAL JUSTICE 24 (Spring
               1987)

               How to Conduct a Dispositional Hearing, 1 CRIMINAL JUSTICE 24 (Winter 1986)

               Conducting a Bench Trial, 1 CRIMINAL JUSTICE 20 (Fall 1986)

               The Treatment of Juveniles in our Court System, 1 CRIMINAL JUSTICE 25 (Summer
               1986)

               ABUSE AND NEGLECT VOLUME, American Bar Association/Institute for Judicial
               Administration, Juvenile Justice Standards Project (1982) (Special Editor)




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                 Abolishing the Juvenile Justice System, 15 TRIAL 22 (January 1979), reprinted in
                 Sanford Fox, MODERN JUVENILE JUSTICE (2d ed. 1981)

                 The ‘Violent’ Juvenile Offender, NEW YORK LAW JOURNAL, (May, 1976);
                 reprinted in 48 NEW YORK STATE BAR JOURNAL 550 (Nov. 1976)

   Representative Legislative Testimony

          Hearings before House Judiciary Committee, Subcommittee on the Constitution, An
          Amendment to the Constitution Concerning Parental Rights and Education (July 18,
          2012)

          Special Hearing of the New York State Assembly Standing Committee on Children and
          Families, Role of Law Enforcement in Child Welfare Matters in the City of New York
          (December 16, 1997)

          Hearings before House Judiciary Committee, Subcommittee on the Constitution, Parental
          Rights and Responsibilities Act (October 26, 1995)

          Special Hearing of the New York State Assembly Standing Committee on Children and
          Families, Family Preservation: Preventive Services, Adoptions and Foster Care
          (December 1, 1993)

          Hearings before Senate Judiciary Committee, Subcommittee on Juvenile Justice, Juvenile
          Pretrial Detention (June 10, 1984)

          Hearings before House Judiciary Committee, Subcommittee on Crime, Protection of
          Children against Sexual Exploitation (November 2, 1977)

   Education:

      New York University School of Law
               J.D. - 1971
               Arthur Garfield Hays Civil Liberties Fellowship
               Criminal Law Education and Research Fellowship

      State University of New York (Buffalo)
                 B.A. – 1968

   Honors:

          Kathryn A. McDonald Award, Association of the Bar of the City of New York (2017)

          CUNY Law Review Scholarship for Social Justice Award (2016)




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         Podell Distinguished Teaching, Award New York University School of Law (2015)

         American Law Institute (Elected) (2015)

         American Bar Association, Center on Children and the Law, Champion of Justice Award
         (2013)

         Keynote Address, Access to Equal Justice Colloquium, Washington University School of
         Law (2010)

         Fellow, American Bar Foundation (2007)

         Livingston Hall Award, American Bar Association (2006)

         Nanette Dembitz Lecture, New York County Bar Association (2005)

         Distinguished Visiting Scholar, University of Loyola School of Law, Chicago (Feb. 2004)

         Chief of United States Delegation to XII International Congress on Family Law (Havana,
         Cuba, September, 2002)

         Legal Information Families Today (LIFT) 2002 Honoree

         The Sidney and Walter Siben Distinguished Professorship Lecture, Hofstra University
         School of Law (2001)

         Kathryn A. McDonald Award, Association of the Bar of the City of New York (2000)

         Law Alumni Teaching Award, New York University School of Law (1996)

         Association of American Law Schools, Section on Clinical Legal Education Award for
         Outstanding Contribution to Clinical Legal Education for work in creating the Clinical
         Law Review (1995)




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                               James Austin

      MAJOR POSITIONS HELD
      2003 – Present         President, The JFA Institute, Washington, D.C.


      1999 -2003             Research Professor and Director, Institute for Crime,
                             Justice, and Corrections, Department of Sociology,
                             The George Washington University, Washington, D.C.

      1982 - 1998            Executive Vice President
                             National Council on Crime and Delinquency
                             San Francisco and Washington, D.C.

      1974 - 1982            Research Associate
                             National Council on Crime and Delinquency
                             San Francisco

      1970 - 1974            Correctional Sociologist
                             Illinois Department of Corrections
                             Joliet, Illinois

      EDUCATION
      B.A.                   1970, Wheaton College, Wheaton, Illinois, Sociology

      M.A.                   1975, De Paul University, Chicago, Illinois, Sociology

      Ph.D.                  1980, University of California, Davis, California,
                             Sociology



      RELEVANT PROFESSIONAL EXPERIENCE
      2015 – present         MacArthur Foundation Safety and Justice Challenge
                             in which JFA is responsible for working with 20 local
                             counties to design and implement plans to lower
                             current jail populations by 15-30%.




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      2016 – present         Maryland Department of Public Safety and
                             Correctional Services, Technical Assistance funded
                             by Open Society Institute-Baltimore.


      2012 - present         Orleans Parish Prison Population Projections and Jail
                             Reduction Strategic Plan.

      2014 - present         Validation study of the San Francisco Adult Probation
                             Risk and Needs Assessment System (COMPAS),
                             San Francisco County.

      2005 – 2014            Director, Design and Evaluation of the Maryland
                             Department of Public Safety and Corrections
                             (MDPSC) Risk and Case Management System
                             (Parole, Probation and Prison). MDPSC and Open
                             Society Institute-Baltimore.

      2014 - 2015            Master Jail Plan, Sonoma County.


      2011 – 2016            Monitor, Consent Decree, Walnut Group Correctional
                             Facility, Mississippi Department of Corrections (adult
                             and juvenile populations)

      2010 – 2014            Consultant. Technical Assistance on Solitary
                             Confinement in Maryland, New Mexico, and Illinois.
                             Vera Institute.

      2011 – 2015            Director, Los Angeles County Sheriff Jail Population
                             Projections and Impact of AB 109. Funded by Public
                             Welfare Foundation.

      2013-2014              Evaluation of the Contra Costa Probation
                             Department’s Response to AB 109- Realignment.

      2012-2013              Evaluation of Alternatives to Incarceration, San Diego
                             County.

      2012 – 2013            Evaluation of the Short-Term Technical Violation Pilot
                             Study. U.S. Parole Commission.

      2012                   Co-Director. Evaluation of the Oklahoma
                             Administrative Segregation System. Oklahoma
                             Department of Corrections.




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      2011 - 2012            Consultant. Study of Colorado Administrative
                             Segregation System. Colorado Department of
                             Corrections and National Institute of Corrections, U.S.
                             Department of Justice.

      2010 – 2011            Co-Director, Revalidation of the Texas Pardon and
                             Parole Board System. Texas Pardon and Parole
                             Board.

      2009 – 2012            Director, Prison Population-Justice Re-investment
                             Initiative. Pew Charitable Trusts.

      2010 – 2011            Special Consultant, Jail Population Projection Study,
                             US Department of Justice and Orleans Paris.

      2008 – 2009            Special Consultant, Administrative Segregation/Super
                             Max Parchment Study. Mississippi Department of
                             Corrections and ACLU

      1998 – 2011            Director, Correctional Options Program (Bureau of
                             Justice Assistance, U.S. Department of Justice)

      2007 – 2008            Director, Harris County Pretrial Services Re-
                             Validation Risk Assessment Study. (Harris County,
                             Texas).

      2005 – 2008            Director, Montgomery Pretrial Services Risk
                             Assessment Validation Study. (Bureau of Justice
                             Assistance, U.S. Department of Justice).

      2003 – 2006            Director, Assessment of Sexual Assault in the Texas
                             Prison System. (National Institute of Justice).

      2002 – 2006            Director, Parole Guidelines System Project, Maryland
                             Parole Commission. (Baltimore Open Society
                             Institute).

      2003 – 2006            Director, Validation Study of the Alameda County
                             Juvenile Detention Risk Assessment System
                             (Alameda County, California).

      2002—2006              Independent Expert, Office of Youth Development,
                             Louisiana Department of Public Safety and
                             Corrections, Jointly Appointed by State of Louisiana
                             and U.S. Department of Justice, Civil Rights Division




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      2003-2004              Director, Evaluation and Redesign Of Systems For
                             Berks County Pretrial and Sentenced Populations.
                             (Berks County, PA).

      2002 – 2003            Director, Validation of the Pennsylvania Parole
                             Guidelines. Pennsylvania Board of Probation and
                             Parole. (Pennsylvania Commission on Crime and
                             Delinquency).

      2001 – 2003            Director, Development of the Kentucky Parole Risk
                             Assessment System. Kentucky Parole and Pardon
                             Board.


      1998 – 2004            Monitor, Georgia Juvenile Justice Corrections
                             System, Jointly Appointed by State of Georgia and
                             U.S. Department of Justice, Civil Rights Division.

      1997 - 2002            Director, National Technical Assistance Program for
                             External Prison Classification Systems (Oregon,
                             Wisconsin, Virginia, Tennessee, Texas, Oklahoma,
                             and Montana) (National Institute of Corrections)

      1996 - 2002            Director, National Technical Assistance Program for
                             Internal Prison Classification Systems (Washington
                             State, Oregon, Missouri, South Dakota, Connecticut,
                             Colorado, and Florida)

      1996 - 1999            Director, National Survey of Juveniles in Adult
                             Correctional Facilities (Bureau of Justice Assistance),
                             GWU.

      1996 - 1999            Director, National Multi-Site Boot Camp Evaluation
                             (Adult and Juvenile) (National Institute of Justice),
                             GWU.

      1995 - 1999            Director, Evaluation of “Three Strikes and You're Out”
                             Laws in California and Nationally, (National Institute of
                             Justice), NCCD

      1996 - 1999            Director, National Survey of Privatization in
                             Corrections (adult and juvenile facilities) (Bureau of
                             Justice Assistance), NCCD.




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                                                                       Exhibit A, Page 79
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      1992 - 1997            Director, Correctional Options Evaluation (National
                             Institute of Justice and Bureau of Justice Assistance),
                             NCCD

      1997                   Director, Congressionally mandated evaluation of the
                             D.C. Department of Youth Services Agency (YSA)
                             operations, classification system, staffing levels,
                             physical plant, mental health, information services
                             and program services, (National Institute of
                             Corrections, Bureau of Prisons), NCCD

      1992 - 1997            Director, National Structured Sentencing Evaluation
                             (Bureau of Justice Assistance), NCCD

      1995 - 1997            Director, Congressionally mandated evaluation of the
                             D.C. Department of Corrections operations,
                             classification system, staffing levels, and physical
                             plant, including, comprehensive cost analysis of long-
                             term options for the Lorton Complex, (National
                             Institute of Corrections, Bureau of Prisons), NCCD

      1991 - 1997            Director, Design and Implementation of the New York
                             City Department of Corrections Objective Jail
                             Classification System (Consent Decree, New York
                             City Department of Corrections), NCCD

      1991 - 1995            Director, Philadelphia Prison System Classification
                             and Population Projections Project (Consent Decree,
                             City of Philadelphia), NCCD

      1991 - 1994            Director, Evaluation of Jail Drug Treatment Programs
                             (National Institute of Justice), NCCD

      1990 - 1993            Director, Evaluation of the Los Angeles Sheriff's Boot
                             Camp Program (National Institute of Justice), NCCD

      1991 - 1993            Director, Design and Implementation of the
                             Cook County Objective Jail Classification System
                             (Cook County Sheriff's Department), NCCD

      1990 - 1991            Director, California Assessment of the
                             Overrepresentation of Minority Youth in Juvenile
                             Justice (Office of Criminal Justice Planning), NCCD




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      1988 - 1992            Director, Experimental Test of Electronic Monitoring
                             Program, Oklahoma Department of Corrections
                             (National Institute of Justice), NCCD

      1987 - 1992            Director, Experimental Test of the Prison
                             Management Classification System (National Institute
                             of Corrections and Washington Department of
                             Corrections), NCCD

      1986 - 1990            Director, National Jail Classification Project (NIC),
                             NCCD

      1985 - 1987            Co-Director, California Youth Authority Parole Risk
                             Study (Packard Foundation and CYA), NCCD

      1984 - 1986            Co-Director, Study of Institutional Violence at San
                             Quentin (Consent Decree, California Department of
                             Corrections, NCCD

      1982 - 1987            Co-Director, Experimental Study of Juvenile Court
                             Probation Services, Salt Lake City, Utah (OJJDP),
                             NCCD

      1983 - 1985            Co-Director, Illinois Department of Corrections Early
                             Release Evaluation (NIJ), NCCD

      1980 - 1984            Co-Director, Supervised Pretrial Release Test
                             Program (NIJ/LEAA), NCCD

      1981 - 1983            Co-Director, Evaluation of California AB2 Bail Reform
                             Act (OCJP), NCCD

      1980                   Senior Research Associate, California Alternatives to
                             Incarceration Study (State Legislature), NCCD

      SPECIAL APPOINTMENTS
      2006 – 2007            Expert Panel on Adult Offender and Recidivism
                             Reduction Programming, California Department of
                             Corrections and Rehabilitation

      2003                   Advisory Committee, The Little Hoover Commission
                             Report on California Prison System

      1999- 2003             Chair, National Policy Committee, American Society
                             of Criminology


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      1987 - 1994            Trustee, Robert Presley Institute of Corrections
                             Research and Training

      1991                   Governor's Task Force on Prison Crowding, State of
                             Nevada

      1988                   Governor's Task Force on Corrections, State of
                             Oregon

      1981, 1986             National Academy of Sciences, National Panels on
                             Sentencing and Prison Overcrowding



      EXPERT WITNESS/LITIGATION
      1987 - 1989            Office of the Special Masters, Ruiz v. Lynaugh,
                             Evaluation of the TDC Classification System and
                             Inmate Violence

                             Appointed by Court to produce evaluation report of
                             classification system to determine if inmate violence
                             had been reduced.

      1989 - 1991            U.S. Department of Justice, Civil Rights Division, U.S.
                             v. State of Florida: Florida Department of Corrections,
                             et al., Case No. TCA 86-7330 (N.D. Fla)

                             Expert Witness Retained by Plaintiffs to determine
                             whether women should be excluded from certain post
                             positions in the DOC.

      1990 - 1991            King County (Seattle, Washington) District Attorney's
                             Office, Hammer v. King County

                             Expert Witness Retained by Defendants to determine
                             if minority staff was being discriminated against.

      1990 - 1991            Office of the Attorney General, State of Texas,
                             Lamar v. Collins

                             Expert Witness Retained by Defendants to determine
                             if use of local incarceration rates by selected counties
                             was appropriate.




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      1991                   Office of the Attorney General, State of Texas,
                             Alberti v. Sheriff of Harris County, et al., No. CA-H-72-
                             1094

                             Expert Witness Retained by Defendants to determine
                             if use of local incarceration rates by selected counties
                             was appropriate.

      1991 - 1992            U.S. Department of Justice, Civil Rights Division, U.S.
                             v. The Parish of Orleans Criminal Sheriff's Office

                             Expert Witness Retained by Plaintiffs to determine the
                             appropriateness of excluding females from certain
                             post positions within the jail.


      1991 - 1994            Calvin R. vs. Illinois Department of Corrections.
                             Consent Decree.

                             Appointed by Court to produce evaluation of
                             classification system and to implement internal
                             classification system to reduce inmate violence.

      1995                   International Fidelity Insurance Co. et al. v. Charles
                             Nobel et al: In the United States District Court of the
                             Southern District of Texas, Houston Division.

                             Expert Witness Retained by Defendants to determine
                             the Failure to Appear rates for defendants released
                             on surety bond versus O.R.

      1995                   Sandra Herrera, et al., v Pierce County, et al.

                             Retained by Plaintiffs to evaluate whether inmates
                             were being properly classified and housed in the local
                             jail.

      1995 - 1996            Montoya v. Gunter, et al.

                             Retained by Defendants to determine whether inmate
                             who was killed while incarcerated had been properly
                             classified and housed.

      1995 - 1997            Inmates A,B,C and D v. Illinois Department of
                             Corrections
                             Consent Decree



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                             Appointed by Court to produce evaluation of the level
                             of control of housing and job assignments by gangs.

      1995 - 2002            USA v. Michigan and Cain v. Michigan Consent
                             Decrees

                             Expert witness retained by Defendants to help
                             Department of Corrections reach compliance with
                             court order regarding classification system.

      1996                   Rentschler v. Carnahan et al.

                             Retained by Defendants to evaluate the impact of
                             crowding at the Colorado maximum security prison.

      1997                   Carlos Morales Feliciano v. Pedro Rossello Gonzales
                             Consent Decree

                             Retained by Special Master to conduct a
                             comprehensive assessment of the inmate
                             classification system that was designed and partially
                             implemented by the Administration of Corrections.

      1998 - 1999            Southern Ohio Correctional Facility (Civil Action No.
                             C-1-93-436).

                             Retained by the Ohio Department of Rehabilitation
                             and Correction to serve as an expert witness on
                             classification issues as they pertain to the Lucasville
                             riot.

      1998 - 1999            Busey et al. v. Corrections Corporation of America

                             Retained by CCA to develop an objective
                             classification system for the Youngstown facility and
                             have all inmate’s properly classified according to the
                             classification criteria. No expert report, deposition or
                             court testimony.


      1998 - 2000            Holloway, et al., v. King County

                             Retained by plaintiff’s counsel to examine the validity
                             of client’s claims that sexual harassment of female
                             correctional officers by male inmates was being



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                             encouraged by male correctional officers and
                             departmental policy. Declaration and deposition.

      2001                   Gartrell et al., v. Ashcroft et al.

                             Retained by plaintiffs to examine if BOP inmates
                             placed in Virginia Department of Corrections are
                             unnecessarily having their expression of religious
                             freedoms unnecessarily restricted? Report submitted
                             but no deposition or court testimony.

      2001 - 2005            Austin, et al., v. Wilkinson, et al.

                             Retained by defendants to examine the classification
                             process used to assign inmates to the Ohio State
                             Penitentiary – a high maximum security prison.
                             Expert report but no deposition or testimony.

      2008- present         Plato and Coleman v. Schwarzenegger.

                            Retained by plaintiffs to develop plan to depopulate the
                            California Prison Population. Reports submitted and
                            deposed by defendants, two expert reports submitted
                            and court testimony.

      2013 - 2014            Coleman v. Brown

                             Expert declaration, deposition and court testimony in
                             support of plaintiff’s motion regarding mentally ill
                             inmates in segregation.


      2012                   Louis Henderson, et al., v. Kim Thomas

                             Expert declaration and testimony on behalf of
                             plaintiffs on the appropriateness of segregating
                             inmates based on HIV status (Alabama). Court ruled
                             in favor of plaintiffs.

      2016 - present         Mark Duke, et al., vs. Jefferson S. Dunn

                             Expert declaration on behalf of plaintiffs on proper
                             classification of inmates at the St. Clair prison facility
                             (Alabama). Stipulated agreement designated Dr.
                             Austin as expert for the DOC to implement reforms.




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      2016 - present         Stephen Rudisill v. Charles Ryan
                             Appointed as expert to monitor stipulated agreement
                             where the Arizona Department of Corrections agrees
                             to desegregate their inmate population in housing and
                             program assignments.



      MAJOR PUBLICATIONS
      Books

      2011                   It’s About Time: America's Imprisonment Binge (with
                             John Irwin), 4th Edition, Cengage, Publishing.

      1993                   Reinventing Juvenile Justice (with Barry Krisberg),
                             Beverly Hills, CA: Sage Publications.

      1978                   The Children of Ishmael: Critical Perspectives on
                             Juvenile Justice (with Barry Krisberg),

      Articles

      2010                   “Reducing America’s Correctional Populations”, 2001.
                             Justice Research and Policy, Vol, 12, No. 1, pp,1-32.

      2009                   “Prisons and the Fear of Terrorism.” August 2009.
                             Criminology and Public Policy. Vol., Issue 3: 641-649.

      2009                   “Beyond Supermax Administrative Segregation:
                             Mississippi’s Experience Rethinking Prison
                             Classification and Creating Alternative Mental Health
                             Programs.” 2009. Criminal Justice and Behavior. Vol.
                             36, No. 10: 1025-1037.

      2006                   “How Much Risk Can We Take? The Misuse of Risk
                             Assessment in Corrections.” 2006. Federal
                             Probation. Vol. 70, No. 2: 58-63.

      2004                   Richards, Stephen C., James Austin, and Richard S.
                             Jones. 2004. “Thinking About Prison Release and
                             Budget Crisis in the Blue Grass State.” Critical
                             Criminology: An International Journal, Vol. 12, No.3:
                             243-263.

      2004                   Richards, Stephen C., James Austin, and Richard S.
                             Jones. 2004. “Kentucky’s Perpetual Prisoner


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                             Machine: It’s All about Money.” Review of Policy
                             Research, Vol. 24, No. 1 (at press).

      2003                   “Why Criminology Is Irrelevant”, Criminology and
                             Public Policy, Vol. 2, No.3: 557-564

      2003                   “Three Strikes Laws”, in Current Controversies in
                             Criminology, Ronald Weitzer, ed., Prentice Hall:
                             Upper Saddle River, NJ.

      2003                   “The Use of Science to Justify The Imprisonment
                             Binge”, Convict Criminology, Jeffrey Ian Ross and
                             Stephen C. Richards, eds., Wadsworth: Belmont, CA.

      2003                   “Its About Time: America’s Imprisonment Binge”,
                             Punishment and Social Control, Aldine De Gruyter:
                             New York, NY.


      1999                   “Are We Better Off? Comparing Private and Public
                             Prisons in the United States”, Current Issues in
                             Criminal Justice. Vol. 11 (2): 177-201.

      1999                   “The Impact of ‘Three Strikes and You’re Out’”,
                             Punishment and Society, Vol 1(2): 131-162.

      1998                   “The Limits of Prison Drug Treatment”, Corrections
                             Management Quarterly, Vol. 2, Issue 4, Fall 1998, pp.
                             66-74.

      1996                   “The Effect of ‘Three Strikes and You’re Out’ on
                             Corrections” in Three Strikes and You’re Out:
                             Vengance as Public Policy, David Shichor and Dale
                             K. Sechrest, eds., Sage Publications: Thousand
                             Oaks, CA.

      1996                   “Are Prisons A Bargain? The Case of Voodoo
                             Economics”, Spectrum, Spring 1996, pp. 6-24.

      1995                   “The Overrepresentation of Minority Youths in the
                             California Juvenile Justice System: Perceptions and
                             Realities” in Minorities in Juvenile Justice, Kimberly
                             Kempf Leonard, Carle E. Pope, and William H.
                             Fyerherm, eds., Sage Publications: Thousand Oaks,
                             CA.




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      1994                   “Three Strikes and You're Out: The Likely
                             Consequences”. St. Louis University Public Law
                             Review, 14, 1, pp. 239-258.

      1993                   “Classification for Internal Purposes: The Washington
                             Experience” (with Chris Baird, and Deborah
                             Nuenfeldt), Classification: A Tool for Managing
                             Today's Offenders, Laurel, MD: American
                             Correctional Association.

      1993                   “Objective Prison Classification Systems: A Review”,
                             Classification: A Tool for Managing Today's
                             Offenders, Laurel, MD: American Correctional
                             Association.

      1986                   “Using Early Release to Relieve Prison Crowding:
                             A Dilemma in Public Policy,” Crime and Delinquency
                             (October):404-501

      1986                   “Evaluating How Well Your Classification System Is
                             Operating,” Crime and Delinquency (July):302-321

      1985                   “Incarceration in the United States: The Extent and
                             Future of the Problem,” The Annals (March):15-30

      1983                   “Assessing the New Generation of Prison
                             Classification Models,” Crime and Delinquency
                             (October):561-576

      1982                   “Do We Really Want to Get 'Tough on Crime'?”
                             Corrections Today, Vol. 44, No. 6:50-52

      1982                   “Bail Reform in California: The Passage of AB2" (with
                             E. Lemert), Pretrial Services Annual Journal, 1982,
                             Vol V:4-23

      1982                   “Review of Fatal Remedies: The Ironies of Social
                             Intervention” (Sam D. Seiber) in Crime and
                             Delinquency, Vol. 20, No. 4:639-641

      1982                   “The Unmet Promise of Alternatives to Incarceration”
                             (with B. Krisberg), Crime and Delinquency, Vol. 28,
                             No. 3:374-409

      1982                   “Promises and Realities of Jail Classification,” Federal
                             Probation, Vol. 46, No. 1:58-67



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      1981                   “Wider, stronger, and different nets: the dialectics of
                             criminal justice reform” (with B. A. Krisberg), Journal
                             of Research in Crime and Delinquency, Vol. 18,
                             No. 1:165-196

      1980                   Instead of Justice: Diversion,
                             Ph.D. Dissertation, University of California, Davis

      AWARDS
      2009                   Recipient of the Marguerite Q. Warren and Ted B.
                             Palmer Differential Intervention Award, American
                             Society of Criminology, Corrections and Sentencing
                             Division

      1999                   Recipient of the Paul Tappin award for outstanding
                             contributions in the field of criminology, Western
                             Society of Criminology

      1991                   Recipient of the Peter P. Lejins Research Award,
                             American Correctional Association




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         Expert Witness Cases past Five Years. James Austin

         United States

         Mark Duke, et al., vs. Commissioner S. Dunn;
         Harry Davis, et al., vs. John Baldwin, Acting Director of the Illinois Department of
         Corrections;
         Arthur Davis, next of kin to Edward Davis, Jr., deceased, vs. County of Santa Clara;
         Samuel Robinson et al., vs. Hamilton County Sheriff, Jim Nell;
         United States v. Andrew Rodgers, 16-cr-0018-WTL-CMN;
         John Doe et al., vs. Michigan Department of Corrections;
         United States vs. Brandon Council, Cr. No. 4:17-866;
         Stephen Stanko vs. State of South Carolina matter, Case Number 2008-CP-22-0144:
         Schoonover v. Rogers et al., Case No. 18-302;
         Mays v. County of Sacramento, E.D. Cal. No. 2:18-cv-02081-TLN-KJN (PC)
         Stephen v. Rudisill vs. Charles Ryan, Director Arizona Department of Corrections;
         and,
         Ralph Coleman v. Edmund G. Brown, Jr;
         Ms. L., et al., United States District Court Southern District of California
         Case No. 18-cv-00428-DMS-MDD, Petitioners-Plaintiffs, U.S. Immigration and
         Customs v. Enforcement (“ICE”), et al.; and,
         Ashok Babu, et al. v. County of Alameda, et al.


         Canada

         Christopher Brazeau and David Kift v. The Attorney General of Canada, CV-15-
         53262500-CP.
         Lapple v. HMQ Court File No. CV-16-558633-00CP




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                      EXHIBIT 5




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 Jeanne M Rikkers
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 jmrikkers@gmail.com

 Experience

 DIRECTOR CENTER OF HUMAN RIGHTS RESEARCH AND LEARNING| CRISTOSAL | CENTRAL
 AMERICA | NOVEMBER 20015 - PRESENT
    ·   Develop and manage the research and education staff
    ·   Oversee the Global School for Human Rights seminar program an intercultural training program
        for human rights advocates, educators and organizers
    ·   Direct research agenda on Forced Displacement, Returned Migrants with Founded Fear, Gangs
        and Community Development, Violence against LGBTI population, Prison Population, Torture,
        Extrajudicial Executions and Violations of Prisoner Rights
    ·   Contribute planning, monitoring, evaluation and organizational learning using tools such as
        Outcome Mapping and Theory of Change

 PROGRAM COORDINATION | CITIZEN SECURITY AND CRIMINAL JUSTICE | FESPAD |
 EL SALVADOR | SEPTEMBER 2013 - JULY 2015
    ·   Responsible for supervising, planning, monitoring and evaluation of projects on community
        violence prevention, gang intervention and rehabilitation, and conflict transformation
    ·   Advocated for policy change in violence prevention at local, national and regional level
    ·   Handled media relations, academic interviews and expert testimony on gang issues, gender-based
        violence and community conflict transformation
    ·   Developed project proposals including budgets and staffing, and maintained informed and
        positive relationships with funders and grant agencies
    ·   Member of the consulting committee to the Executive Director of FESPAD
    ·   Primary researcher on security and criminal justice responsible for research design, protocols,
        supervision of methodology and field work as well as editorial decisions for publication
    ·   Project manager of staff and volunteers in community-based violence prevention projects, defense
        of human rights defenders, and at-risk groups, including gang – reinsertion projects

 RESEARCHER | INTERPEACE LATIN AMERICA OFFICE | DECEMBER 2010-SEPTEMBER 2013
    ·   Regional Research Coordinator November 2011 – September 2013
    ·   Coordinated research projects in five countries and promoting policy responses in relation to
        research
    ·   Responsible for design and evaluation of social auditing projects with Central American Youth
        networks and civil society organizations
    ·   Coordinated research for the policy proposals on Youth Violence Prevention with SICA, SISCA and
        UNFPA and the governments of Panamá and Nicaragua
    ·   Principal researcher for developing Regional Guidelines for Policy on Youth-related violence
        prevention for SICA
    ·   Principal researcher for the proposals for a comprehensive youth-related violence prevention
        policy and documentation of good practice
    ·   Facilitated workshops on violence prevention and youth participation in public policy
    ·   Technical assistance on development of action plans and municipal policies on youth violence
        prevention



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 TECHNICAL AND RESEARCH CONSULTANT | FESPAD | EL SALVADOR|
 NOVEMBER 2007 TO NOVEMBER 2010
    ·   Technical support for working groups and dialogue on human rights in prision system with family
        members, prisoners and authorities
    ·   Support for AEIPES, association of ex-prisioners
    ·   Facilitation for roundtable dialogue among youth offenders and authorities in the juvenile
        detention centers
    ·   Support for the “Cuentame” juvenile detention center poetry project
    ·   Workshop facilitation on conflict transformation with municipal authorities and law enforcement
        officers
    ·   Accompaniment of victims and documentation of human rights violations of prisioners and youth
        in conflict with the law

 COUNTRY COORDINATOR, EL SALVADOR | CRISPAZ | 2000-2007
    ·   Legal representative in El Salvador responsible for administration, staff, programming and public
        relations
    ·   Coordinated strategic planning initiatives
    ·   Contributed successfully to major and individual donor fundraising through written
        communications and speaking tours
    ·   Represented CRISPAZ in networks and advocacy groups
    ·   Developed programs in fair trade, community development, and high-risk youth violence
        prevention
    ·   Developed effective and popular long and short-term volunteer programs

 PROGRAM COORDINATION | CRISPAZ | 1996-2000
    ·   Volunteer Program 1998-2000.
    ·   Multicultural Peace Education program of delegations to El Salvador 1996-2000

 COUNTRY REPRESENTATIVE, EL SALVADOR | CRWRC | 1992-1996
    ·   Project management and strategic planning with four Salvadoran partner agencies on community
        development initiatives
    ·   Developed partner-friendly project monitoring systems and assisted in designing and
        implementing project evaluations and participatory planning models
    ·   Workshop organizer and facilitator at community, national and regional levels on: sustainable
        agricultural practices, community health, literacy, and political analysis of impacts of neoliberal
        economic policy on community development

 COMMUNITY DEVELOPMENT STAFF | CRWRC | GUATEMALA | 1990-1992
    ·   Service and Learning program focused on sustainable agricultural practices and community
        health

 EXTERNAL PROJECT EVALUATOR | LABOR AND TRADE UNION PROJECTS IN CENTRAL
 AMERICA AND COLOMBIA
 2009   US State Department, Bureau of Democracy, Human Rights, and Labor- funded project:
        El Salvador and Guatemala
 2010   US Department of Labor-funded project: Colombia
 2012   US State Department Bureau of Democracy, Human Rights, and Labor- funded project:
        El Salvador and Guatemala



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 2014   US State Department Bureau of Democracy, Human Rights, and Labor-funded project on Afro-
        Columbian Workers in Colombia
 2015   National Endowment for Democracy, NED, Cumulative Assessment of Four-year project “Central
        America Regional: Building & Strengthening Modern Democratic Unions in Guatemala, El
        Salvador, Honduras, Nicaragua & Costa Rica”
 2016   US State Department, Bureau of Democracy, Human Rights and Labor- funded project: “Building
        the Capacity of Workers and Worker Organizations to Advocate for Labor Rights in CAFTA-DR”
 2018   US State Department, Bureau of Democracy, Human Rights and Labor- funded project:
        “Countering Labor Violence in Honduras y Guatemala”

 Other Relevant Consultancies
 2007 - Expert testimony on Country Context, gender-based violence and gangs for asylum cases in the
        United States
 2010   FESPAD/ICCPG: Assisted research on the conditions of the Juvenile Justice System
 2011   ISDEMU/FESPAD: Evaluation of government initiatives on preventing violence against women
 2013   ChristianAid: Consultant on the design of regional violence prevention strategy
 2013   Catholic Relief Services: Juvenile Justice System use of YouthBuild and other civil society models
        for youth reinsertion programs
 2014   Plataforma de Seguridad Juvenil: Course facilitator in regional program for certification on youth,
        violence prevention and public policy participation
 2015   NCSC: Proposal for Halfway house for the Juvenile Justice System in El Salvador
 2015   FESPAD: Research and documentation of police and military abuse of stigmatized youth
 2015   Catholic Relief Services: Research and Proposals related to “Second Chances /Segundas
        Oportunidades” project
 2016   Catholic Relief Services: Research on impacts of violence on Cacao Alliance projects



 Research & Publications
 · Field research: “Monitoreo de la situación de menores de edad en los centros de resguardo e
   internamiento en El Salvador”, FESPAD, 2009
 · Researcher for El Salvador: “Ejecuciones extrajudiciales de jóvenes estigmatizados en Centroamérica:
   Estudio de situación de Guatemala, El Salvador y Honduras 2009 “(published, 2011)
 · Principle researcher: “Construyendo un futuro de paz: Propuesta de política pública integral para
   prevenir la violencia que afecta la adolescencia y la juventud”, FESPAD/SSPAS/Interpeace, 2011
 · “Ser hombre, ser mujer: el rol de género en las pandillas de El Salvador”, published by SSPAS, 2012:
   contributing researcher and editor
 · “Historias y relatos de vida de pandilleros y ex pandilleros de Guatemala, El Salvador y Honduras”,
   ICCPG/Interpeace/Fespad, 2012: Researcher for El Salvador
 · “Viviendo la cultura de paz: Nicaragua”, Interpeace and Governmente of Nicaragua, 2012: Facilitator
   and Researcher
 · “Estrategias y acciones para la prevención de la violencia relacionada con juventudes en Panamá”,
   Interpeace and Panamanian Government, 2012: Facilitator and Researcher


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 · “Violent Women and Violence Against Women”, Interpeace, 2012, contributing researcher
 · “La libertad religiosa y las personas LGBTI: Cuaderno para el diálogo sobre los Derechos Humanos en El
   Salvador”, Cristosal, 2016: principle researcher
 · “Retos del desarrollo comunitario en contextos violentos: Un informe para la discusión sobre el desarrollo,
   los derechos humanos y la seguridad”, FESPAD/CRISTOSAL/CRS/ChristianAid, 2017: principle
   researcher



 Translation & Interpretation
 · Consecutive, simultaneous and liaison interpretation English-Spanish 1995-2014 for more than 300
   people visiting El Salvador as part of solidarity, human and labor rights, and church organizations
 · Translation of more than 200 published and internal documents (English-Spanish) on labor rights,
   human rights, violence, impunity, security and theology


 Volunteer Positions
 EXTERNAL FACILITATOR | GRUPO JUVENTUD O.P.E.R.A. | QUEZALTEPEQUE, APANTEOS AND
 CIUDAD BARRIOS PRISONS | 1997-2010
    ·   Assistance in organization and planning of OPERA activities inside prisons
    ·   Facilitation of training workshops, self-help groups for emotional intelligence, culture of peace
        and human rights with imprisoned men with ties to gangs

 FOUNDING MEMBER | NETWORK FOR A HUMANE PRISION SYSTEM | 2003-2010, 2018-
 PRESENT

 BOARD MEMBER | FUNDACIÓN IDEAS Y ACCIONES PARA LA PAZ, QUETZALCOATL | JANUARY
 2010- AUGUST 2011


 EXTERNAL FACILITATOR | YOUTH MOVEMENT/ MOVIMIENTO JUVENIL GENERACIÓN
 XXI | 1993-1998
    ·   Administration, fundraising and program planning support
    ·   Facilitation of youth groups and workshops on leadership and culture of peace



 Education
 B.A. |1987| CALVIN COLLEGE
 · Majors: English, German
 · Minor: Philosophy




                                                                                       Exhibit A, Page 95
